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                       EXHIBIT 2
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( 12) Björsell
      Unitedet alStates
                  .
                        Patent                                                    ( 10) Patent No .: US 10,880,721 B2
                                                                                  (45 ) Date of Patent :  Dec. 29 , 2020
(54) MOBILE GATEWAY                                                          ( 56 )                           References Cited
( 71 ) Applicant: VOIP-PAL.COM , INC . , Bellevue, WA                                               U.S. PATENT DOCUMENTS
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( 72 ) Inventors : Johan Emil Viktor Björsell, Vancouver                                                         (Continued )
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                   ( CA) ; Pentti Kalevi Huttunen ,                                               FOREIGN PATENT DOCUMENTS
                   Vancouver (CA) ; Emil Malak ,
                   Vancouver ( CA )                                          BR                   PI 0718312-7 A2          11/2013
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( 73 ) Assignee : VoIP-Pal.com , Inc. , Bellevue , WA (US )                                                      (Continued )
( * ) Notice: Subject to any disclaimer, the term of this                                               OTHER PUBLICATIONS
                  patent is extended or adjusted under 35
                   U.S.C. 154 ( b ) by 504 days .                            ETSI TS 122 173 V12.7.0 ( Oct. 2014 ) Digital cellular telecommu
                                                                             nications system ( Phase 2+ ) ; Technical Specification 8.2.2.3
( 21 ) Appl. No .: 14 /035,806                                               Interoperability with PSTN / ISDN and mobile CS Networks, Con
( 22 ) Filed :     Sep. 24 , 2013                                            tents and Forward, pp . 1-9 ; Sec . 8 , pp . 14-17 .
                                                                                                (Continued )
( 65 )               Prior Publication Data
                                                                             Primary Examiner Andrew Lai
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                Related U.S. Application Data                                (74 ) Attorney, Agent, or Firm — Thorpe North &
                                                                             Western , LLP.
( 63 )   Continuation of application No. 13 /056,277 , filed as
         application No. PCT /CA2009 / 001062 on Jul . 28 ,                  ( 57 )                              ABSTRACT
         2009 , now Pat . No. 8,630,234 .                                    A method of initiating a call to a callee using a mobile
                              (Continued )                                   telephone involves : receiving , from a user of the mobile
                                                                             telephone, a callee identifier associated with the callee ;
( 51 ) Int. Ci.                                                              transmitting an access code request message to an access
         H04W 8/02                     ( 2009.01 )                           server , the access code request message including the callee
         H04W 76/11                    ( 2018.01 )                           identifier; receiving an access code reply message from the
         H04W 76/15                    ( 2018.01 )                           access server in response to the access code request mes
( 52 ) U.S. CI .                                                             sage , the access code reply message including an access
         CPC                 H04W 8/02 ( 2013.01 ) ; H04W 76/11              code different from the callee identifier and associated with
                              (2018.02 ) ; H04W 76/15 (2018.02 )             the callee identifier ; and initiating a call with the mobile
( 58 ) Field of Classification Search                                        telephone using the access code to identify the callee .
         CPC .... H04W 76/021 ; H04W 76/025 ; H04W 8/02
         See application file for complete search history.                                  141 Claims , 17 Drawing Sheets
                                                                         First Node                                                         -10
                                                                              11                           HS Data Link
                                                                                                                  17
                    Non - voice                 Access         RC                      CC                                     Second Node
                    Network                     Server         30                      13                                          21
                        16                           14
                                            1                Database         VM                  MR
               12                                              23             19                  28
                      Mobile Telephone                                                                                  IP Network
                             Network                                                                                          26
                                  15                                20                      ! T1
                                                 1-604-345-1212                          i Line
                                                                    22        T1              27
                                                1-604-345-2323           Multiplexer
                                                                                         1             Gateway
                                                                              25                         18
                                                                    24
                                                1-604-345-3434                                                         Gateway
                                                                                                                         34
                                                          PSTN Network
                                                              29
                                                                                             36                  32
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   10


                               NSeocdne   21




               DataLinkHS 17
                                                                               IPNetwork   26
                                                                                                                              Gateway   34
                                                                                                                                                                 324
                                                         MR 28
                                                                                                          Gateway
                                                                                                                18

                                                                                           T1
                                                                                           I    Line 27                       1   1   1
                                                                                                                                                                 36
                                CC 13

   NFiordset   11
                                                         VM 19

                                                                                              20 22
                                                                                                        T1
                                                                                                             Multipexr
                                                                                                                    25                                                 1
                                                                                                                                                                       .
                                                                                                                                                                       FIG
                                                                                                                         24
                                RC 30
                                                         Datbse   23
                                                                                                                                              NPeStwTorNk   29



                                                                                                   1-604352 1-604352 1-60435
                                                                                                                                          7




                                Ac es Server        14
                                                     I   |         1




                                                                        MToelbiphloenNtwork   15

                                Non
                                voice
                                -         Network   16

                                                                   12                           el
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                                Mobile Telephone ( 12 )
                                                                    50

         Parameter Memory                                       Temporary Memory
                    58                                                   60
                 Username                   Program
                   74
                                            Memory
                 Password                     54
                    76
            Caller Identifier
                    78




                                             up
                                              52




                                  62                      66                  68
    Dialing Function        Callee           I/ O
            64           Identifier           56                                   Handset


       16           Non - Voice Network               Mobile Telephone        15
                          Interface
            S?               70                     Network Interface
                                                               72




                                          FIG . 2
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                                                    -102              100
                                         Start

                                  Obtain callee         1104
                                    identifier

                                    Transmit               -106
                              access code request
                               message to access
                                        server


                                        Receive         1130
                               access code reply
                             message from access
                                        server


                               Initiate voice /video        149
                             call using access code
                                         End

                                   FIG . 3

                                        110                                     140
 Access Code Request Message                       Access Code Reply Message
 Username                         112             Access Code                   142
 Password                         [ 114           Timeout                      1144
  Callee Identifier                 -116
 Caller Identifier                  -118
 Location Identifier                -119                    FIG . 5

          FIG . 4
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                             Access Server ( 14 )
                                                         150



           Parameter                 Program              Temporary
            Memory                   Memory                Memory
              158                      154                     160




                                       up
                                       152




                                       I/O
                    Non - Voice        156
                     Network
              16    Interface
                       162
                                                 164
                                             Routing
                                          Controller
                                              30


                                  FIG . 6
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                                                        190
            Receive Access Code Request Message
          192                                -196
                         Obtain an
                        access code

                                             -198
                   Transmit access code
                       reply message
                             End




                         FIG . 7
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                                                                                 230

  Temporary Memory
         240                           Routing Controller ( 30 )
  Local Calling Area      245
      Identifier           246 Program RC Request                       Access         Local
   Callee Identifier           Memory   Message                          Code      Calling Area
                          248                          Handler                Identifier
   Caller Identifier                    234             380         Generator Generator
                           249
   Caller Username        250
  Access Code Store
   Retrieved Dialing                                                    Table Memory           238
        Profile
                                                 ??                      Access code
                                                 232                   association table
    Call Type Flag             Clock
                               244                                           170
                                  258                            256
               DB Response                       I/O                   DB Request
                                  260                            262 Routing Message
                  RC Request                     236

                                          242
                                           Access Server
                                                  14




                                          FIG . 8
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                                                                    200
               Dialing Profile for a User
                           202       Username Assigned on Subscription
                             204 -Domain Domain Associated with User
                                  206 -NDD 1
                                  208 - IDD 011
                      210 ~ Country Code 1
                  212 ~ Local Area Codes 604; 778
       214 ~ Caller Minimum Local # Length 10
       216_Caller Maximum Local # Length 10
                            218       Reseller Retailer
       220 ~ Maximum # of concurrent calls Assigned on Subscription
         222 ~ Current # of concurrent calls Assigned on Subscription
   224 ~ Default Local Calling Area Identifier Assigned on Subscription

                                        FIG . 9
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 -170

                                                                                                                                          10
                                                                                                                                          .
                                                                                                                                          FIG
           183
                     Cal er
           179   2                                             1|XX-XXXXXXX-170243 124-60 3541-02
           177 2
                     Chalnerl
           175 2
                                AICUdscerontidfsaemr                                                     182                      016-5:23018 106-45:2018
           173
                                                       1-604352 1-60435 2
                                                               12-604352 1X-4623 46 1X-4623Y8           181
                                                                                                                    Timesotuamp   10               10

           171 2
                 LCoalcainlg
                                                       1724X   174-X X 176-XXXX 178-XXXX 180-XXXX
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                                                        370

                    DID Bank Table Record
                          Username               371
                         User Domain            372
                              DID                373
                       Callee Identifier         374
                       Caller Identifier        -375
                            Timeout            -376
                           Timestamp             -377
                  Local Calling Area Identifier 378
                       Channel Identifier        -379
                        Caller Username         -381

                        FIG . 11
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                                                       Start
                        270
                                                               272
                                                        In
                                                   local calling N
                                                       area ?
                                                           Y
                                                                 -274
                                            N       Associated
                                                   with a callee
                                                    indentifier ?
                                                           Y

                                                                    278
         276    Store access code in
                 temporary memory                    Expired ?

                                                           N
         280 store callee identifier
         282    Store caller identifier

         283    Store caller username

         284     Store timeout and
                     timestamp
                                                        End



                                    FIG . 12
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                                        Gateway ( 18 )              300


                                          Program
                                          Memory
                                            304



                                             up                  Memory
       PSTN Network                          302                  305
            29
              S
      20
                  T1             308        I/ O         309
      22     Multiplexer                                            26
                  25         ?               306
                              T1
      24                     Line
                              27

                                       FIG . 13

                                                                          310
                   SIP Invite Message
           312-4 Caller Identifier             1-604-678-1234@20.14.102.5
           314 Callee Identifier              1-604-345-1212
           315 - Digest Parameter             XXXXXXX
           316 Call Identifer                 FF10@20.14.102.5
           3172 IP Address                     20.14.102.5
           318 Gateway UDP Port                12378

                                         FIG . 14
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                              Call Controller ( 13 )

                                                -                     320
                                         SIP Invite to
                                            RC 30
                                              344
                                                            324
                                          Routing to
                                           Gateway
                                              346

                                              ??
                                              322
                                340                       342
                 From VM                                            To VM
                                336                       338 SIP TO Phone
              From Gateway
                 From RC        332           I
                                              O
                                              /
                                              I
                                               326
                                                          334 To Gateway

   SIP From IP Phone or Gateway328                        330       TO RC




                                 FIG . 15
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                  SIP Invite Request Process

                  Receive SIP Invite Message               344

                     Prepare RC Request 1350
                           Message

                       SendMessage
                            RC Request 135
                              End

                        FIG . 16


                                                     360
                    RC Request Message
              362_Caller 1-604-678-1234@20.14.102.5
              364 ^ Callee 1-604-345-1212
              366 ^ Digest XXXXXXX
              368 ^ Call ID FF10@20.14.102.5

                        FIG . 17
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   380
                                                          RC Request Message Handler
                                                              Store contents of RC               382
                                    390                    request message in buffer
                          Send error    N
                     message to call                       Use caller identifier field to
                          controller                       get dialing profile for caller 384
                                                                   from database
                             End
                 B                                                 Concurrent 386
                                                              calls from maximum
                          -406
                                                                     concurrent
                                                                      calls ?
           Callee                   Y                                      Y
      on same node as                                           Increment current
           gateway ?                                           concurrent call field         388
                                                                  of dialling profile
             N
                           -408          454
         Set call type                  Use callee field to get             A
         = cross domain                   dialing profile for
                                                 callee
                             410
                                                                  -456
    Load routing message                Get call forward , call
      with contents of                   block and voicemail
    caller, callee from RC              tables from database
    request and set route
        IP address or                                                                            -460
     domain of callee's ;                                  -458
      node TTL = 99999                         Caller                        Send drop call
                                           matches block Y                  message to call
                             -412              pattern ?                        controller
    Send routing message
      to call controller                         N                                 End
                                                            -462
                                          Call forwarding?             Y
                                                     N        -464
                            Generate routing message                                          - 468
                              for private system call
                                                              -466         Load
                                                                           with caller buffer
                                                                                1 " CF entries
              End            Send routing message to
                                    call controller
                                   FIG . 18A
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     402
                      N
                                                                         ?.
                                                                         (
                                                                                       Public
                                                                                       (            Network    Call
                                                                                                               )




            Formated                                        o r d 404
                                                                  Y
                            hicdaenltifser tDIDbabnlke cSetal e IDto DIDfrom record
                                                      r
                                                      ? e c
                                                                                    usernam number                                             B
                                                                                                                                               (


                                                                                                                                                        Private
                                                                                                                                                        (
                                                                                                                                                                  )System
                                                                                                                                                                  Call

                                                            End                                                                                                       422
    398
                     Y

                                                                                                  icFaolrmeat ,dentif er,NDDremovewpriepthnd code                                                                                                                                                         18BFIG.
                       Length Incorectlengthmes age
                                          ?
                                          OK
                                                    400NY                                                                                                                                                             -434
                                                                                                                                          nsatciayolunaetry 428                                                                    aicFdoenlrtmifdeatr cwporaiuelnpterhydcandaordea
    396
                                                                  -418      Set
                                                                            call
                                                                            type
                                                                            as
                                                                                           national                  Set
                                                                                                                     call
                                                                                                                     type
                                                                                                                     aslcoaclal
                                                                                                                                                                                               cwporaiuelnpdternhyd
                                     IDDandremove                               N                         420
                                                             416                                                                                                                                                          -432 SetcalltypetoY local                                               End
                                                                                                                                                                  SetcallandicFtypetodaoenlrtimfeatr
    394 SetcalltypeicFtodaoenlrtmifeatr                                                                                                                426
                                                                                                                                                       -
                                                              Cal e sidtenariftes   wclaiorlcteahrlfsctroa dtimengNDDlength?of set       YU
                                                                                                                                                                                                                                                                                            436
                                                                                                                                                                                                                                                                                                  Er or
                                    interaol                                                                                                                                                      local
                                                                                                                                                                                                                      430
                         392                                   414                                                                   424 Yisdetnairftesr                                                                 Cal eildentigftmceldhraíonclghiatenandlnorsmlgareauolctail?codes   N




    A

                                    Cal eibdengtifnesrcwailtehrIDD? NJ Cal eibdengtifnesrcwailtehrNDD? NI Cal e wcairlteharcode?                                                                             N
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                  (C


                                   -438                                               -448
              Formatted                                             Set callee
            callee identifier                 N                  identifier = newly
     corresponds to an access code                               formatted E164
        associated with a callee                                      number
              identifier ?
                 Y
                                                                                      450
                                                                 Generate routing
                                                                message for public
                                                                   system call

                             440                                                      452
           Caller identifiers             N                        Send routing
             correspond ?                                        message to call
                                                                    controller
                 Y

                             444                          442
                                          Y
        Association expired ?                     Error                 End

                 N
                                   -446
        Store callee identifier
           associated with
         access code in callee
            identifier store


                     A

                                   FIG . 18C
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                  Gateway Node Association Table               480

                     486                     488

              Gateway IP Address        Node Identifier
     482-20.14.102.5                          2
     484104.12.131.12                         5



                               FIG . 19
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                   MOBILE GATEWAY                                          Receiving the access code reply message may involve
                                                                         receiving the access code reply message from the access
     INCORPORATION BY REFERENCE TO ANY                                   server on a non - voice network .
           PRIORITY APPLICATIONS                                          Receiving the access code reply message may involve
                                                                     5 receiving, in the access code reply message , an access code
  This application is a continuation of U.S. application Ser.          temporarily associated with the callee identifier.
No. 13 /056,277 , filed Jan. 27 , 2011 , entitled “ Mobile Gate-          Receiving the access code reply message may involve
way ” , which is a national phase entry of PCT/CA2009 /                receiving, in the access code reply message , a telephone
001062 , filed Jul. 28 , 2009 , which claims priority to U.S.          number identifying a channel operably configured to coop
Provisional Application No. 61 / 129,898 , filed Jul. 28 , 2008 ,   10 erate with an IP network to cause a call involving the mobile
all of which are incorporated by reference in their entireties.        telephone and the callee to be routed through the IP network .
                                                                          Initiating the call may involve engaging a routing con
                       BACKGROUND                                      troller to route the call on the IP network to the callee .
                                                                          The method may further involve : receiving from the
  Field                                                             15 mobile telephone the access code request message ; commu
   This invention relates generally to telecommunication ,             nicating with a routing controller to obtain from the routing
and more particularly to methods, systems, apparatuses , and           controller the access code wherein the access code identifies
computer readable media for initiating or enabling a call              a channel and is useable by the mobile telephone to cause the
with a mobile telephone to a callee .                                  routing controller to establish a call to the callee using the
   Description of the Related Technologies                          20 channel; and transmitting the access code reply message to
   Mobile telephone service providers often charge signifi             the mobile telephone.
cant fees for long distance telephone calls , particularly when           In accordance with another aspect , there is provided a
the mobile telephone is roaming in another mobile telephone            mobile telephone. The mobile telephone includes: provi
service provider's network .                                           sions for receiving, from a user of the mobile telephone, a
  One known technique for avoiding the long distance
charges of mobile telephone service providers is to use a
                                                                    25 provisions
                                                                       callee identifier   associated with the callee ; transmitting
                                                                                    for transmitting an access code request message
“ calling card ” . A “ calling card ” may permit the user of the       to an access server, the access code request message includ
mobile telephone to place a call to a local telephone number           ing the callee identifier; provisions for receiving an access
or to a less -expensive telephone number ( such as a toll - free       code reply message from the access server in response to the
number, for example) instead of placing the call directly to        30 access code request message , the access code reply message
the callee . The user may thus avoid the long distance charges         including an access code different from the callee identifier
of the mobile telephone service provider, which may be                 and associated with the callee identifier; and provisions for
higher than the charges for using the " calling card ” . How-          initiating a call using the access code identify the callee.
ever, this technique can be cumbersome and undesirable,                   The transmitting provisions may include a non -voice
because it may require the user of the mobile telephone to 35 network interface for transmitting the access code request
follow a number of complicated or cumbersome steps in                    message to the access server on a non -voice network .
order to initiate a call to the callee , for example.                      The access code request message may further include a
                                                                         location identifier of a location associated with the mobile
       SUMMARY OF CERTAIN EMBODIMENTS                                    telephone.
                                                                    40     The location identifier may include an IP address of the
   In accordance with one aspect there is provided a method mobile telephone in a wireless IP network .
of initiating a call to a callee using a mobile telephone. The         The location identifier may include an identifier of a
method involves receiving, from a user of the mobile wireless voice signal station in wireless communication with
telephone, a callee identifier associated with the callee ; the mobile telephone.
transmitting an access code request message to an access 45 The location identifier may include a user -configured
server, the access code request message including the callee identifier of a location associated with the mobile telephone.
identifier; receiving an access code reply message from the            The provisions for receiving an access code reply mes
access server in response to the access code request mes- sage may include a non -voice network interface for receiv
sage , the access code reply message including an access ing the access code reply message on a non - voice network .
code different from the callee identifier and associated with 50 The access code may include a telephone number.
the callee identifier; and initiating a call with the mobile           The means for initiating may involve a mobile telephone
telephone using the access code to identify the callee .            network interface .
   Transmitting may involve transmitting the access code               In accordance with another aspect , there is provided a
request message to the access server on a non - voice net- system for initiating a call to a callee . The system includes
work .                                                           55 the mobile telephone, a routing controller, and an access
   Transmitting may involve transmitting a location identi- server. The access server includes : provisions for receiving
fier of a location associated with the mobile telephone to the from the mobile telephone the access code request message ;
access server .                                                     provisions for communicating with the routing controller to
   Transmitting the location identifier may involve transmit- obtain from the routing controller the access code wherein
ting an IP address of the mobile telephone in a wireless IP 60 the access code identifies a channel and is useable by the
network .                                                           mobile telephone to cause the routing controller to establish
   Transmitting the location identifier may involve transmit- a call to the callee using the channel; and provisions for
ting an identifier of a wireless voice signal station in wireless transmitting the access code reply message including the
communication with the mobile telephone.                            access code to the mobile telephone.
   Transmitting the location identifier may involve transmit- 65 In accordance with another aspect , there is provided a
ting a user - configured identifier of a location associated with mobile telephone. The mobile telephone includes a proces
the mobile telephone .                                              sor circuit, a network interface in communication with the
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processor circuit, and a computer readable medium in com-          the callee identifier and associated with the callee identifier;
munication with the processor circuit and encoded with and initiate a call using the access code to identify the callee .
codes for directing the processor circuit to : receive , from a        In accordance with another aspect , there is provided a
user of the mobile telephone, a callee identifier associated method for enabling a mobile telephone to initiate a call to
with the callee ; cause an access code request message to be 5 a callee through a channel. The method involves: receiving
transmitted to an access server, the access code request from the mobile telephone an access code request message
message including the callee identifier; receive an access including a callee identifier associated with the callee ;
code reply message from the access server in response to the communicating with a routing controller to obtain from the
access code request message , the access code reply message routing controller an access code identifying the channel, the
including an access code different from the callee identifier 10 access code being different from the callee identifier and
and associated with the callee identifier, and initiate a call useable by the mobile telephone to initiate a call to the callee
using the access code to identify the callee .                      using the channel; and transmitting an access code reply
   The network interface may include a non -voice network message including the access code to the mobile telephone.
interface, and the codes for directing the processor circuit to        Receiving may involve receiving the access code request
cause the access code request message to be transmitted may 15 message on a non- voice network .
include codes for directing the processor circuit to cause the         The method may further involve causing the routing
access code request message to be transmitted to the access controller to produce the access code .
server using the non - voice network interface on a non - voice        Producing may involve selecting the access code from a
network .                                                           pool of access codes , where each access code in the pool of
   The access code request message may further include a 20 access codes identifies a respective telephone number.
location identifier of a location associated with the mobile           The method may further involve determining a local
telephone.                                                          calling area associated with the mobile telephone.
   The location identifier may include an IP address of the            Determining may involve accessing a dialing profile
mobile telephone in a wireless IP network .                         associated with the caller, the dialing profile including a
   The location identifier may include an identifier of a 25 location field having contents identifying at least a default
wireless voice signal station in wireless communication with location of the caller.
the mobile telephone .                                                 Determining may involve receiving an IP address of the
   The location identifier may include a user -configured mobile telephone in a wireless IP network .
identifier of a location associated with the mobile telephone.         Determining may involve receiving an identifier of a
   The network interface may include a non -voice network 30 wireless voice signal station in wireless communication with
interface, and the codes for directing the processor circuit to the mobile telephone.
receive an access code reply message may include codes for             Determining may involve receiving a user -configured
directing the processor circuit cause the access code reply identifier of a location associated with the mobile telephone.
message to be received from the access server using the                Selecting may involve selecting an access code in the
non- voice network interface on a non - voice network .          35 local calling area associated with the mobile telephone.
   The access code may include a telephone number iden-                Each access code in the pool of access codes may further
tifying a channel operably configured to cooperate with an identify a respective channel operably configured to coop
IP network to cause a call involving the mobile telephone erate with an IP network to cause a call involving the mobile
and the callee to be routed through the IP network .                telephone and the callee to be routed through the IP network .
   The network interface may include a mobile telephone 40 The method may further involve causing the routing
network interface, and the codes for directing the processor controller to establish communication through the IP net
circuit to initiate may include codes for directing the pro- work in response to a call received on the channel.
cessor circuit to cause a call to be initiated using the mobile        Producing may further involve storing a caller identifier
telephone network interface on a mobile telephone network . associated with the mobile telephone in association with the
   In accordance with another aspect , there is provided a 45 access code .
system for initiating a call to a callee . The system includes :       Causing the routing controller to establish communication
the mobile telephone; a routing controller, and an access may involve causing the routing controller to establish
server comprising a processor circuit and a computer read- communication only if the caller identifier associated with
able medium in communication with the processor circuit . the access code identifies the mobile telephone.
The computer readable medium is encoded with codes for 50 Producing may further involve storing the callee identifier
directing the processor circuit to : receive from the mobile in association with the access code .
telephone the access code request message ; communicate                Producing may further involve searching the pool of
with the routing controller to obtain from the routing con-        access codes for an access code associated with the callee
troller the access code wherein the access code identifies a       identifier to identify the channel usable by the mobile
channel and is useable by the mobile telephone to cause the 55 telephone to initiate a call to the callee .
routing controller to establish a call to the callee using the     Producing may further involve storing, in association with
channel; and transmit the access code reply message to the the access code , a timestamp for use in determining when
mobile telephone .                                               the usability of the access code to initiate a call to the callee
   In accordance with another aspect , there is provided a will expire.
computer readable medium encoded with codes for directing 60 Causing the routing controller to establish communication
a processor circuit to : receive , from a user of a mobile may involve causing the routing controller to establish
telephone, a callee identifier associated with a callee ; trans- communication only if the usability of the access code to
mit an access code request message to an access server, the initiate a call to the callee has not expired .
access code request message including the callee identifier ;       Transmitting may involve transmitting the access code
receive an access code reply message from the access server 65 reply message on a non -voice network .
in response to the access code request message , the access         In accordance with another aspect , there is provided a
code reply message including an access code different from system for enabling a mobile telephone to initiate a call to
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a callee through a channel. The system includes: provisions              The processor circuit may operably configured to estab
for receiving from the mobile telephone an access code                 lish communication only if the usability of the access code
request message including a callee identifier associated with          to initiate a call to the callee has not expired .
the callee ; provisions for communicating with the routing               The provisions for transmitting may include a non - voice
controller to obtain from the routing controller an access 5 network interface for transmitting the access code reply
code identifying the channel, the access code being different message on a non-voice network .
from the callee identifier and useable by the mobile tele        In accordance with another aspect , there is provided a
phone to initiate a call to the callee using the channel; and system
provisions for transmitting an access code reply message 10 a callee for  enabling a mobile telephone to initiate a call to
                                                                       through a channel. The system includes a processor
including the access code to the mobile telephone.            circuit, a network interface in communication with the
   The provisions for receiving may include a non - voice processor
network interface for receiving the access code request municationcircuit      , and a computer readable medium in com
                                                                           with the processor circuit and encoded with
message on a non-voice network .
  The system may further include provisions for producing codes for directing the processor circuit to : receive from the
the access code.                                              mobile telephone an access code request message including
                                                                  15
   The provisions for producing may include a processor a callee identifier associated with the callee ; communicate
circuit operably configured to select the access code from a with the routing controller to obtain from the routing con
pool of access codes , where each access code in the pool of troller an access code identifying the channel, the access
access codes identifies a respective telephone number.       code being different from the callee identifier and useable by
   The processor circuit may be operably configured to 20 the mobile telephone to initiate a call to the callee using the
determine a local calling area associated with the mobile channel; and cause an access code reply message including
telephone                                                              the access code to be transmitted to the mobile telephone.
  The processor circuit may be operably configured to                     The network interface may include a non - voice network
determine a local calling area associated with the mobile              interface, and the codes for directing the processor circuit to
telephone using a dialing profile associated with the caller,     25   receive may include codes for directing the processor circuit
the dialing profile including a location field having contents         to cause the access code request message to be received
identifying at least a default location of the caller.                 using the non- voice network interface on a non - voice net
   The processor circuit may be operably configured to                 work .
determine a local calling area associated with the mobile                 The computer readable medium may be further encoded
telephone using an IP address of the mobile telephone in a        30   with codes for directing the processor circuit to cause the
wireless IP network .                                                  access code to be produced .
   The processor circuit may be operably configured to                    The codes for directing the processor circuit to cause the
determine a local calling area associated with the mobile              access code to be produced may cause the access code to be
telephone using an identifier of a wireless voice signal               selected from a pool of access codes , where each access
station in wireless communication with the mobile tele-           35   code in the pool of access codes identifies a respective
phone .                                                                telephone number.
   The processor circuit may be operably configured to                    The computer readable medium may be further encoded
determine a local calling area associated with the mobile              with codes for directing the processor circuit to cause to be
telephone using a user -configured identifier of a location            determined a local calling area associated with the mobile
associated with the mobile telephone.                             40   telephone.
   The processor circuit may be operably configured to                   The codes for directing the processor circuit to cause to be
select an access code in the local calling area associated with
                                                              determined may cause a dialing profile associated with the
the mobile telephone.                                         caller to be accessed , the dialing profile including a location
   Each access code in the pool of access codes may further   field having contents identifying at least a default location of
identify a respective channel operably configured to coop- 45 the caller.
erate with an IP network to cause a call involving the mobile    The codes for directing the processor circuit to cause to be
telephone and the callee to be routed through the IP network .determined may cause to be received an IP address of the
   The processor circuit may be operably configured to        mobile telephone in a wireless IP network .
establish communication through the IP network in response       The codes for directing the processor circuit to cause to be
to a call received on the channel.                         50 determined may cause to be received an identifier of a
   The processor circuit may be operably configured to store  wireless voice signal station in wireless communication with
a caller identifier associated with the mobile telephone in the mobile telephone.
association with the access code .                                       The codes for directing the processor circuit to cause to be
  The processor circuit may be operably configured to cause            determined may cause to be received a user - configured
the routing controller to establish communication only if the 55 identifier of a location associated with the mobile telephone.
caller identifier associated with the access code identifies the    The codes for directing the processor circuit to cause the
mobile telephone.                                                      access code to be produced may further cause to be selected
  The processor circuit may be operably configured to store            an access code in the local calling area associated with the
the callee identifier in association with the access code .            mobile telephone .
  The processor circuit may be operably configured to 60            Each access code in the pool of access codes may further
search the pool of access codes for an access code associated identify a respective channel operably configured to coop
with the callee identifier to identify the channel usable by the erate with an IP network to cause a call involving the mobile
mobile telephone to initiate a call to the callee .              telephone and the callee to be routed through the IP network .
   The processor circuit may be operably configured to store,       The computer readable medium may be further encoded
in association with the access code, a timestamp for use in 65 with codes for directing the processor circuit to cause
determining when the usability of the access code to initiate communication through the IP network to be established in
a call to the callee will expire.                                response to a call received on the channel.
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                                 7                                                                    8
  The codes for directing the processor circuit to cause the              FIG . 8 is a block diagram of a routing controller shown in
access code to be produced may cause a caller identifier               FIG . 1 ;
associated with the mobile telephone to be stored in asso-                FIG . 9 is a tabular representation of a dialing profile
ciation with the access code .                                         stored in a database accessible by the routing controller
   The codes for directing the processor circuit to cause 5            illustrated in FIG . 1 ;
communication to be established may cause communication                   FIG . 10 is a tabular representation of an access code
to be established only if the caller identifier associated with        association table stored in memory accessible by the routing
the access code identifies the mobile telephone.                       controller shown in FIG . 1 ;
   The codes for directing the processor circuit to cause the             FIG . 11 is a schematic representation of a DID bank table
access code to be produced may cause the callee identifier to 10       record stored in a database shown in FIG . 1 ;
be stored in association with the access code .                           FIG . 12 is a flow chart of a process executed by the
  The codes for directing the processor circuit to cause the           routing controller illustrated in FIG . 1 ;
access code to be produced may cause the pool of access                   FIG . 13 is a block diagram of a gate ay shown in FIG . 1 ;
codes to be searched for an access code associated with the               FIG . 14 is a tabular representation of an SIP invite
callee identifier to identify the channel usable by the mobile 15      message transmitted between the gateway and a call con
telephone to initiate a call to the callee .                           troller illustrated in FIG . 1 ;
   The codes for directing the processor circuit to cause the             FIG . 15 is a block diagram of the call controller illustrated
access code to be produced may cause a timestamp for use               in FIG . 1 ;
in determining when the usability of the access code to                   FIG . 16 is a flow chart of a process executed by the call
initiate a call to the callee will expire , to be stored in 20         controller illustrated in FIG . 1 ;
association with the access code .                                        FIG . 17 is a tabular representation of an RC request
   The codes for directing the processor circuit to cause              message transmitted between the call controller and the
communication to be established may cause communication                routing controller illustrated in FIG .
to be established only if the usability of the access code to             FIGS . 18A - 18C are a flow chart of a process executed by
initiate a call to the callee has not expired .                 25     the routing controller illustrated in FIG . 1 ; and
   The network interface may include a non -voice network                 FIG . 19 is a tabular representation of a gateway node
interface , and the codes for directing the processor circuit to association table stored in the database illustrated in FIG . 1 .
transmit include codes for directing the processor circuit to
cause the access code reply message to be transmitted using              DETAILED DESCRIPTION OF CERTAIN
the non- voice network interface on a non - voice network . 30                         EMBODIMENTS
   In accordance with another aspect , there is provided a
computer readable medium encoded with codes for directing          Referring to FIG . 1 , a system for enabling a mobile
a processor circuit to : receive from the mobile telephone an telephone to initiate a call a callee is shown generally at
access code request message including a callee identifier 10. The system 10 includes a first node 11 , a second node 21 ,
associated with the callee ; communicate with the routing 35 and a mobile telephone 12 .
controller to obtain from the routing controller an access                The first and second nodes 11 and 21 in the illustrated
code identifying the channel, the access code being different embodiment may support “ voice -over- IP ” (VoIP ) calls
from the callee identifier and useable by the mobile tele- between telephones and / or videophones using the Internet
phone to initiate a call to the callee using the channel; and Protocol (IP ) , as described in PCT Publication No. WO
cause an access code reply message including the access 40 2008/052340 , which is hereby incorporated by reference in
code to be transmitted to the mobile telephone.                 its entirety herein . In the embodiment shown, the first node
   Other aspects and features will become apparent to those 11 is located in a geographical area , such as Vancouver,
ordinarily skilled in the art upon review of the following British Columbia, Canada, for example , and the second node
description of specific embodiments of the invention in 21 is located in London , England , for example. Different
conjunction with the accompanying figures.                   45 nodes may be located in different geographical regions
                                                                throughout the world to provide telephone/ videophone ser
       BRIEF DESCRIPTION OF THE DRAWINGS                        vice to subscribers in respective regions. These nodes may
                                                                be in communication with each other by high speed /high
   In drawings which illustrate embodiments,                    data throughput links including optical fiber, satellite , and / or
   FIG . 1 is a block diagram of a system for enabling a 50 cable links illustrated generally at 17 , forming a backbone to
mobile telephone to initiate a call through a channel to a the system . These nodes may alternatively, or in addition, be
callee in accordance with a first embodiment in the inven-             in communication with each other through conventional
tion ;                                                                 internet services.
  FIG . 2 is a block diagram of mobile telephone shown in         In the embodiment shown , the first node 11 provides
FIG . 1 ;                                                    55 telephone /videophone service to western Canadian custom
  FIG . 3 is a flow chart of a process executed by the mobile ers from Vancouver Island to Ontario . Another node ( not
telephone shown in FIG . 1 ;                                    shown) may be located in Eastern Canada to provide ser
  FIG . 4 is a schematic representation of an access code vices to subscribers in that area , for example .
request message transmitted between the mobile telephone        Other nodes of the type shown may also be employed
and an access server shown in FIG . 1 ;                   60 within the geographical area serviced by a node to provide
   FIG . 5 is a schematic representation of an access code for call load sharing, for example , within a region of the
reply message transmitted between the mobile telephone and geographical area serviced by the node . However, in gen
the access server shown in FIG . 1 ;                         eral, all nodes may be similar and have the properties
   FIG . 6 is a block diagram of the access server shown in            described in connection with the first node 11 .
FIG . 1 ;                                                         65      In this embodiment, the first node 11 includes a call
   FIG . 7 is a flow chart of a process executed by the access         controller (CC ) 13 , an access server 14 , a routing controller
server shown in FIG . 1 ;                                              (RC ) 30 , a database 23 , a voicemail server 19 , and a media
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relay 28. Each of these may be implemented as separate                  with one of the channels 20 , 22 , and 24 may be a telephone
modules on a common computer system or by separate                      number of a PSTN telephone 32 that is in communication
computers , for example. The voicemail server 19 need not               with the IP network 26 through a gateway 34 , or it may be
be included in the node and can be provided by a third party            a telephone number of a VoIP telephone 36 that is directly
service provider. Although the access server 14 is illustrated       5 in communication with the IP network 26 , for example.
as being part of the first node 11 , access servers in alternative      Other routing controllers 30 of other nodes , such as the
embodiments may be separate from the node and may be in                 second node 21 , for example , may also associate callee
communication with one or more nodes, for example.                      identifiers with other channels that are in communication
   The mobile telephone 12 is configured to place calls over            with other gateways (not shown ).
a mobile telephone network , illustrated generally at 15 , in a      10 Mobile Telephone
manner well-known in the art . Furthermore, the mobile                     Referring to FIG . 2 , in this embodiment, the mobile
telephone 12 and the access server 14 are configured to                 telephone ( 12 ) includes a processor circuit shown generally
communicate with each other, preferably on a non - voice                at 50. The processor circuit 50 includes a microprocessor 52 ,
network illustrated generally at 16 , such as a “ WiFi ” wire-          a program memory 54 , an input /output (I /O ) port 56 , param
less IP network or a General Packet Radio Service (GPRS )            15 eter memory 58 , and temporary memory 60. The program
network , for example . However, in alternative embodi-                 memory 54 , I /O port 56 , parameter memory 58 , and tem
ments, the mobile telephone 12 and the access server 14 may             porary memory 60 are all in communication with the micro
communicate with each other over other networks, such as                processor 52. The processor circuit 50 may alternatively
a mobile telephone network using Short Message Service                  include a plurality of processors , a plurality of program
( SMS ) messages , for example .                                     20 memories , a plurality of temporary memories , and / or a
   The system 10 further includes a gateway 18 in commu-                plurality of I /O ports , or these components may alternatively
nication with at least one , and preferably a plurality of,             be combined into a single device . However, for simplicity,
channels, which are illustrated schematically at 20 , 22 , and the components of the processor circuit 50 are illustrated as
24 , to which the mobile telephone 12 may initiate a call over shown in the example of FIG . 2 .
the mobile telephone network 15. The channels 20 , 22 , and 25 In the illustrated embodiment, the I /O port 56 includes a
24 maybe telephone lines in a Public Switched Telephone dialing input 62 for receiving a callee identifier from a key
Network (PSTN ) 29. The channels 20 , 22 , and 24 maybe pad , for example, or from a voice recognition unit , or from
associated with PSTN telephone numbers in a local calling pre -stored callee identifiers stored in the parameter memory
area associated with the mobile telephone 12 , and thus these 58 , for example. For illustration purposes only, a myriad of
channels preferably depend on a geographical location of the 30 possible dialing functions for providing a callee identifier
mobile telephone. The expression “ local calling area ” herein are represented by the block entitled dialing function 64. A
refers generally to a set of telephone numbers, typically callee identifier may be a telephone number of a callee , for
defined by a geographical region, to which telephone calls example .
may be placed by callers within the local calling area at          The I /O port 56 also includes a handset interface 66 for
either no additional charge or at a lower additional charge 35 receiving and producing signals to and from a handset 68
than would be required for calls to numbers that are outside that may be placed close to the user's ear and mouth , for
of the local calling area . However, it will be appreciated that producing and receiving audible signals for and from the
in other embodiments, the gateway 18 may be in commu- user . It will be appreciated that alternatively, the handset 68
nication with any number of channels, which need not be may include a camera and video screen , for example, and
PSTN telephone lines . Also , in the illustrated embodiment, 40 that video or other types of signals may be transmitted
the channels 20 , 22 , and 24 are associated with telephone additionally or alternatively to audible signals .
numbers for Vancouver, British Columbia , Canada and the            The I/ O port 56 also includes a non- voice network inter
surrounding area, although it will be appreciated that these face 70 for transmitting information to , and receiving infor
channels may include PSTN telephone lines associated with mation from , the non -voice network 16 illustrated in FIG . 1 ,
other areas , for example , which may not necessarily be in a 45 for example, and preferably interfaces with a high - speed
local calling area associated with the mobile telephone 12 . internet connection .
   In the illustrated embodiment, each of the channels 20 , 22 ,    The I /O port 56 in the illustrated embodiment further
and 24 is configured by a PSTN service provider (which , in includes a mobile telephone network interface 72 for trans
Canada, may be Bell Canada or Telus, for example ) to direct mitting signals to and receiving signals from a mobile
calls that are received on the channels to the gateway 18. In 50 telephone service provider over a network such as a Global
the illustrated embodiment, the PSTN service provider has System for Mobile communications ( GSM) or a Code
configured the channels 20 , 22 , and 24 to communicate with Division Multiple Access (CDMA) network , such as the
a T1 multiplexer 25 , which multiplexes the channels 20 , 22 , mobile telephone network 15 illustrated in FIG . 1 , for
and 24 in a manner known in the art onto one or more Ti            ample. Again, for simplicity , a mobile telephone network
lines 27 that are in communication with the gateway 18. The 55 interface is illustrated, although it will be appreciated that
gateway 18 is in communication with an IP network shown video signals or other signals may be handled similarly
generally at 26. The channels 20 , 22 , and 24 are thus when the mobile telephone ( 12 ) is facilitating communica
configured to cooperate with the IP network 26 (via the tion of one or more of these types of signals . It will also be
gateway 18 in the illustrated embodiment) to cause a call appreciated that alternatively, the non -voice network inter
involving the mobile telephone 12 and the callee to be routed 60 face 70 and mobile telephone network interface 72 need not
through the IP network in response to a call received at one            be distinct , but may be a single interface for communication
of the channels.                                                   over a single network , for example, or may be configured to
  Also , in the illustrated embodiment, the access server 14       communicate over a plurality of different networks, for
is in communication with the routing controller 30 of the example .
first node 11 , and the routing controller 30 is configurable to 65 In the illustrated embodiment, the parameter memory 58
associate a callee identifier with one of the channels 20 , 22 , includes a username field 74 and a password field 76 ,
and 24 , as described below. A callee identifier associated although it will be appreciated that the username and pass
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                                                     US 10,880,721 B2
                              11                                                                     12
word may not be necessary, or may be input by the user as            114 , a callee identifier field 116 , and a caller identifier field
required, for example. The parameter memory 58 in the                118. In the illustrated embodiment, values for the username,
illustrated embodiment also includes a caller identifier field       password, and caller identifier fields 112 , 114 , and 118 are
78 for storing a caller identifier, which may be a telephone         retrieved from the username, password , and caller identifier
number associated with the mobile telephone ( 12 ) for iden- 5 fields 74 , 76 , and 78 respectively in the parameter memory
tifying a “ channel” such as a telephone line assigned to the        58 of the processor circuit 50 ( illustrated in FIG . 2 ) , and a
mobile telephone that may be used to call back to the mobile         value for the callee identifier field 116 is obtained from the
telephone, for example. Generally, the contents of the user-         dialing function 64 in block 104 , and may be stored in the
name field 74 , the password field 76 , and the caller identifier temporary memory (60 ), for example. It will be appreciated
field 78 are set once when the user first subscribes to the 10 that the username field 112 , password field 114 , and caller
system .                                                             identifier field 118 are not essential, although these fields are
  The usernames referred to herein , such as the username in         preferable in order to identify the user of the mobile tele
the username field 74 , preferably include a twelve digit phone for billing purposes, for example.
number such as 2001 1050 8667 , for example, wherein the                Referring to FIGS . 1 and 4 , it will be appreciated that in
left-most digit is a continent code ( such as “ 2” to indicate 15 order to minimize charges from the mobile telephone service
North America , for example ), followed by a three - digit provider of the mobile telephone 12 , the channels 20 , 22 , 24
country code ( such as “ 001” to indicate Canada and the will preferably be local or relatively inexpensive telephone
United States , for example ), a four -digit dealer code ( such as lines associated with a geographical location , more particu
“ 1050 ” , for example ), and a unique four -digit number code larly a pre -defined local calling area , associated with the
( such as “ 8667 ” , for example ), as discussed more generally 20 mobile telephone 12. Therefore , the exemplary access code
in PCT Publication No. 2008/052340 . Therefore, a prefix of request message 110 further includes a location identifier
a username referred to herein preferably indicates a geo- field 119. The location identifier stored in the location
graphical region associated with the user, or with the access identifier field 119 preferably identifies a location of the
code , and more preferably indicates a node associated with mobile telephone 12 for use in determining a local calling
the user or access code .                                         25 area associated with the mobile telephone 12 .
   The program memory 54 stores blocks of codes for                     For example, the location identifier in the location iden
directing the microprocessor 52 to carry out the functions of tifier field 119 may include an IP address of the mobile
the mobile telephone ( 12 ) , which are illustrated by example telephone 12 in a wireless IP network, such as the non - voice
below.                                                               network 16 to which the non- voice network interface 70
  Referring to FIGS . 2 and 3 , a flow chart representing 30 shown in FIG . 2 is connected , because this IP address may
functions performed by blocks of code that direct the be an indicator of a geographical location of the mobile
microprocessor 52 to initiate a call with the mobile tele- telephone 12. The location identifier may also or alterna
phone 12 a callee is shown generally at 100. The blocks tively include an identifier of a wireless voice signal station
shown in FIG . 3 generally represent codes that may be in wireless communication with the mobile telephone. In the
stored in the program memory 54 for example, for directing 35 illustrated embodiment, the wireless voice signal station is
the microprocessor 52 to perform various functions relating part of the mobile telephone network 15 that is in commu
to initiating a call with the mobile telephone ( 12 ) to a callee . nication with the mobile telephone 12 through the mobile
The actual code to implement each block may be written in telephone network interface 72 illustrated in FIG . 2. In still
any suitable programming language, such as Java , C , and / or other embodiments, the location identifier may include a
C++, for example.                                                  40 user- configured identifier of a geographical location or local
   The process 100 begins at 102 , in response to an interrupt calling area where the mobile telephone 12 is or may be
produced at or for the microprocessor 52 by the dialing situated . The location identifier may thus be pre -determined
function 64. Upon initiation of the process 100 , block 104 and stored in the parameter memory 58 shown in FIG . 2 or
directs the microprocessor 52 to obtain a callee identifier may be acquired from non- voice network or wireless voice
from the dialing function 64 at the dialing input 62 of the I /O 45 signal station or from user input, for example. Therefore , in
port 56 in the illustrated embodiment. The callee identifier is summary, the location identifier in the location identifier
associated with a desired callee , and may be a telephone field 119 may include one or more of an IP address of the
number of the callee , for example. The microprocessor 52 mobile telephone 12 in a wireless IP network , an identifier
thus receives , from a user of the mobile telephone ( 12 ) , a of a wireless voice signal station in wireless communication
callee identifier associated with a callee .                       50 with the mobile telephone, and a user -configured identifier.
   Block 106 directs the microprocessor 52 to transmit,                 As described below, the location identifier in the location
using the non - voice network interface 70 in the illustrated identifier field 119 may be used to determine a local calling
embodiment, an access code request message , the access area associated with the mobile telephone 12 , within which
code request message including the callee identifier obtained local calling area channels (illustrated as 20 , 22 , and 24 in
at block 104 , to the access server 14 (illustrated in FIG . 1 ) . 55 FIG . 1 ) are available to the mobile telephone 12 for the
In general, preferably block 106 directs the microprocessor lowest cost to the user . However, it will be appreciated that
52 to cause an access code request message to be transmitted the location identifier may only approximately identify a
to the access server 14 over a non - voice network , such as an      local calling area, and may not necessarily identify the
internet, using WiFi or GPRS technology for example.                 lowest cost channel ( illustrated as 20 , 22 , and 24 in FIG . 1 )
However, it will be appreciated that block 106 may direct the 60 for the mobile telephone 12. It will also be appreciated that
microprocessor 52 to transmit an access code request mes-        in other embodiments, the location identifier field 119 may
sage to the access server 14 using any suitable technique,       be omitted .
which may alternatively include a voice network , for               Referring back to FIG . 3 , the process 100 continues at
example .                                                        block 130 , which directs the microprocessor (52 ) to receive
  Referring to FIG . 4 , an exemplary access code request 65 an access code reply message from the access server ( 14 ) in
message is shown generally at 110. The access code request           response to the access code request message that was
message 110 includes a username field 112 , a password field         transmitted at block 106 .
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                              13                                                                    14
   Referring to FIG . 5 , an exemplary access code reply Access Server
message is shown generally at 140. The access code reply           Referring to FIG . 6 , the access server ( 14 ) includes a
message 140 includes an access code field 142 and a timeout processor circuit shown generally at 150. The processor
field 144. In the illustrated embodiment, the access code circuit 150 includes a microprocessor 152 , program memory
field 142 stores an access code which is a telephone number 5 154 , an I /O port 156 , parameter memory 158 , and temporary
associated with a telephone line associated with one of the memory 160. The program memory 154 , 1/ O port 156 ,
channels 20 , 22 , or 24 in FIG . 1. It will be appreciated that parameter memory 158 , and temporary memory 160 are all
the access code is different from the callee identifier in the       in communication with the microprocessor 152. The pro
callee identifier field 116 shown in FIG . 4 , in that the access    cessor circuit 150 may alternatively include a plurality of
code identifies a channel, other than that provided by the 10 microprocessors or 1/O ports, for example, and the compo
callee identifier provided by the dialing function 64 in FIG .  nents of the illustrated processor circuit 150 may also
2 , that the mobile telephone ( 12 ) can use to initiate a call to
                                                                alternatively be combined into a single device .
the callee . It will be appreciated that use of the access code    The program memory 154 stores blocks of codes for
facilitates avoidance of long distance or roaming charges       directing the microprocessor 152 to carry out the functions
that a mobile telephone service provider would charge for a 15  of the access server 14. The I/O port 156 includes a
call placed directly using the callee identifier using conven- non - voice network interface 162 for communicating with
tional calling processes, for example.                          the non - voice network 16 illustrated in FIG . 1. The I /O port
   Still referring to FIG . 5 , the timeout field 144 in the 156 also includes a routing controller interface 164 for
illustrated embodiment stores a value that indicates a period interfacing with the routing controller 30 illustrated in FIG .
of time , for example a number of minutes, during which the 20 1 .
access code in the access code field 142 is associated with        Referring to FIGS . 6 and 7 , a flow chart of blocks of code
the callee identifier in the callee identifier field 116 of the for directing the microprocessor 152 of the access server
exemplary access code request message 110 illustrated in ( 14 ) to provide an access code to the mobile telephone ( 12 )
FIG . 4 , such that the access code is only temporarily is shown generally at 190. The blocks 190 in FIG . 7
associated with the callee identifier. In one embodiment, the 25 generally represent codes that may be stored in the program
value stored in the timeout field 144 indicates 10 minutes,       memory 154 for directing the microprocessor 152 to per
for example . It will be appreciated that in other embodi-        form various functions to provide the access to the mobile
ments, the timeout field 144 may not be necessary, but            telephone ( 12 ) to enable the mobile telephone to place a call
preferably it is included.                                        through a channel (20 , 22 , or 24 ) .
   In the illustrated embodiment, the program codes in block 30 The process 190 begins at 192 , in response to an interrupt
130 direct the microprocessor 52 to receive the access code created by or for the microprocessor 152 when it receives an
reply message over a non -voice network, such as a WiFi or access code request message 110 (as illustrated in FIG . 4 )
GPRS network ( illustrated at 16 in FIG . 1 ) via the non - voice from the mobile telephone ( 12 ) . In the illustrated embodi
network interface 70 shown in FIG . 2. However, it will be ment, the access code request message ( 110 ) is received via
appreciated that the access code reply message may be 35 the non-voice network interface 162 through a non-voice
received on any suitable network, even a voice network, for network ( 16 ) such as a WiFi or GPRS network , for example.
example.                                                                However, it will be appreciated that other embodiments may
   Referring back to FIGS . 2 and 3 , block 149 directs the use different techniques for receiving the access code
microprocessor 52 to initiate a call with the mobile tele request message ( 110 ) from the mobile telephone ( 12 ) .
phone ( 12 ) on the mobile telephone network 15 ( illustrated 40 The process 190 continues at block 196 , which directs the
in FIG . 1 ) using the access code received in the access code microprocessor 152 to communicate with the routing con
field 142 of the access code reply message 140 (shown in troller 30 to obtain from the routing controller an access
FIG . 5 ) to identify the callee . In the illustrated embodiment, code identifying a channel ( illustrated as 20 , 22 , or 24 in
the codes in block 149 direct the microprocessor 52 to FIG . 1 ) in communication with the gateway ( 18 ) , wherein
initiate a call to the channel ( 20 , 22 , or 24 ) identified by the 45 the access code is different from the callee identifier in the
access code , using the mobile telephone network interface callee identifier field 116 ( shown in FIG . 4 ) and is usable by
72 of the I /O port 56 of the mobile telephone ( 12 ) , to engage the mobile telephone ( 12 ) to initiate a call to the callee using
the mobile telephone network ( 15 ) .                                   the channel, as further described below. Therefore, block
   Referring to FIG . 1 , in the embodiment shown, the access 196 preferably causes an access code to be produced by
code in the access code field ( 142 ) is a telephone number 50 retransmitting the access code request message 110 illus
identifying a channel 20 , 22 , or 24 that is in communication       trated in FIG . 4 that was received at 192 from the mobile
with the gateway 18 to the IP network 26. Through the telephone ( 12 ) , to the routing controller 30 through the
gateway 18 , the channel 20 , 22 , or 24 is thus operably routing controller interface 164 of the I /O port 156 .
configured to cooperate with the IP network 26 to cause a         The process 190 continues at block 198 , which directs the
call from the mobile telephone 12 to the callee to be routed 55 microprocessor 152 to transmit an access code reply mes
through the IP network . Routing the call through the IP sage ( 140 ) , including the access code obtained by block 196 ,
network may involve engaging the routing controller 30 to            to the mobile telephone ( 12 ) . An exemplary access code
route the call on the IP network 26 to the callee , as described     reply message is shown in FIG . 5. In the illustrated embodi
below. However, it will be appreciated that in other embodi- ment, an access code reply message ( 140 ) is produced by the
ments, the access code need not be a telephone number, but 60 routing controller 30 in a manner described below in
may be any code identifying a channel through which the response to the access code request message ( 110 ) that was
mobile telephone 12 can initiate a call . Alternatively, if the transmitted to the routing controller at block 196 , and the
mobile telephone is capable of voice over IP communica- access code reply message ( 140 ) is received from the routing
tions , the access code may be used to identify an IP address controller through the routing controller interface 164 of the
in the IP network to which the call is routed . In this 65 1/0 port 156. Block 198 then causes the access code reply
embodiment, the IP address may act as the access code. The message that was received from the routing controller to be
process 100 shown in FIG . 3 is then ended .                    retransmitted to the mobile telephone ( 12 ) . In the illustrated
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                             15                                                                  16
embodiment, the codes in block 198 direct the micropro- sage input 260 for receiving an RC request message ( illus
cessor 152 to transmit the access code reply message ( 140 ) trated in FIG . 17) from the call controller ( 13 in FIG . 1 ) and
using the non -voice network interface 162 to the non - voice includes a routing message output 262 for sending a routing
network 16 , which may be a WiFi or GPRS network , for message back to the call controller 13. The I/ O port 236 thus
example . However, it will be appreciated that other embodi- 5 acts to receive a caller identifier and a callee identifier
ments may employ other types of networks for communi- contained in an RC request message from the call controller,
cating the access code reply message ( 140 ) to the mobile the RC request message being received in response to
telephone ( 12 ) . The process 190 is then ended .                initiation of a call by a subscriber of the system , as described
   In summary , referring to FIG . 1 , the access server 14 below .
generally acts as an interface to the routing controller 30 for 10 The program memory 234 includes blocks of codes for
relaying access code request messages and access code reply directing the processor 232 to carry out various functions of
messages between the mobile telephone 12 and the routing the routing controller ( 30 ) . One of these blocks includes an
controller. Therefore , it will be appreciated that in alterna- RC request message handler 380 which directs the routing
tive embodiments, the access server 14 and the routing controller (30 ) to produce a routing message in response to
controller 30 need not be separate, but may, for example , be 15 a received RC request message , an example of which is
combined in a single component.                                   illustrated in FIG . 17. The RC request message handler
Routing Controller ( RC )                                         process is shown in greater detail at 380 in FIGS . 18A
   Referring to FIG . 1 , generally, the routing controller 30 through 18C . Another of these blocks in the program
executes a process to facilitate communication between memory 234 includes an access code generator, which is
callers and callees . The function of a routing controller 20 described at 270 in FIG . 12 , and which directs the routing
generally in a VoIP system is described in PCT Publication controller (30 ) to produce an access code as directed by the
No. WO 2008/052340 .                                               program codes in block 196 shown in FIG . 7. Yet another of
   Referring to FIG . 8 , the routing controller ( 30 ) includes a these blocks in the program memory 234 includes a local
processor circuit shown generally at 230. The processor calling area identifier generator, which directs the routing
circuit 230 includes a microprocessor ( or more generally a 25 controller ( 30 ) to produce a local calling area identifier using
processor) 232 , program memory 234 , an I/O port 236 , table the location identifier from the location identifier field 119 of
memory 238 , temporary memory 240 , and a clock 244. The the access code request message 110 illustrated in FIG . 4 .
program memory 234 , 1/0 port 236 , table memory 238 , Local Calling Area Identifier Generator
temporary memory 240 , and clock 244 are all in commu-               Referring to FIG . 1 , it will be appreciated that preferably,
nication with the processor 232. The processor circuit 230 30 a call made by the mobile telephone 12 using the access code
may include a plurality of microprocessors, for example, and        obtained from the access server 14 will be a local call for the
the aforementioned components of the processor circuit 230          mobile telephone 12 , based on a geographical location of the
may be combined , for example . The program memory 234              mobile telephone. Therefore , blocks in the program memory
includes blocks of code for directing the processor 232 to          234 include a local calling area identifier generator, which
carry out the functions of the routing controller (30 ) , and the 35 directs the routing controller 30 to produce a local calling
I /O port 236 includes an access server interface 242 for area identifier.
communicating with the access server 14 .                               For example, the local calling area identifier generator
    In the illustrated embodiment as described above, the may direct the microprocessor 152 to access a dialing profile
access server ( 14 ) transmits ( at block 196 illustrated in FIG . associated with the caller. The dialing profile may be iden
7 ) an access code request message ( 110 ) to the routing 40 tified using the username in the username field 112 in the
controller ( 30 ) in order to obtain from the routing controller access code request message 110 illustrated in FIG . 4 , and to
( 30 ) an access code . When an access code request message       store in the local calling area identifier field 245 a default
( 110 ) is received at the access server interface 242 , the      location of the caller retrieved from the dialing profile
processor 232 preferably stores certain values from the associated with the caller.
access code request message in stores in the temporary 45 Referring to FIG . 9 , an exemplary dialing profile is
memory 240 for ease of retrieval. In particular, the tempo- illustrated generally at 200 and includes a username field
rary memory 240 includes a callee identifier store 246 for 202 , a domain field 204 , and calling attributes comprising a
storing the callee identifier from the callee identifier field national dialing digits (NDD ) field 206 , an international
116 in the access code request message 110 illustrated in dialing digits (IDD ) field 208 , a country code field 210 , a
FIG . 4 , a caller identifier store 248 for storing the caller 50 local area codes field 212 , a caller minimum local number
identifier that was stored in the caller identifier field 118 of length field 214 , a caller maximum local number length field
the access code request message 110 illustrated in FIG . 4 , a 216 , a reseller field 218 , a maximum number of concurrent
caller username store 249 for storing the caller username           calls field 220 , a current number of concurrent calls field
that was stored in the caller username field 112 of the access      222 , and a default local calling area identifier field 224 .
code request message 110 illustrated in FIG . 4 , and an access 55 Therefore , in some embodiments, the local calling area
code store 250 for storing an access code that is selected identifier generator directs the microprocessor 152 to deter
when the routing controller ( 30 ) receives an access code mine a local calling area associated with the mobile tele
request message ( 110 ) . The temporary memory 240 also phone ( 12 ) by retrieving the default local calling area
includes a local calling area identifier store 245 for storing identifier from the default local calling area identifier field
an identifier of a local calling area associated with the 60 224 of the dialing profile 200 .
mobile telephone ( 12 ) . The clock 244 generally maintains           Effectively, the dialing profile 200 is a record identifying
and stores a representation of a current date and time .           calling attributes of the caller identified by the username in
   The I /O port 236 further includes a database request port the username field 202. More generally, dialing profiles 200
256 through which a request to the database ( 23 in FIG . 1 ) represent calling attributes of respective users , and are
can be made , and also includes a database response port 258 65 discussed in more detail in PCT publication No. WO 2008 /
for receiving a reply from the database ( 23 ) . The I/ O port 052340. As described in PCT publication No. WO 2008 /
236 further includes a routing controller ( RC ) request mes- 052340 , a dialing profile of the type shown in FIG . 9 , and
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                                                       US 10,880,721 B2
                               17                                                                       18
also other records such as direct - in - dial (DID ) records, call       FIG . 1 ) to an IP network ( 26 in FIG . 1 ) in response to a call
blocking records, call forwarding records, and voicemail                 received at the channel. When a record is created in respect
records , may be created whenever a user registers with the              of a channel, the local calling area identifier field 171 is
system or agrees to become a subscriber to the system .                  preferably initialized with an identifier of a local calling area
   Alternatively, the local calling area identifier generator          5 associated with the channel, the access code field 173 is
may generate a local calling area identifier to be stored in the         preferably initialized with an access code associated with the
local calling area identifier store 245 using the location               channel, and the channel identifier field 175 is preferably
identifier from the location identifier field 119 of the access          initialized with an identifier of the channel. The remaining
code request message 110 illustrated in FIG . 4. As described            fields ( for storing a callee identifier 177 , a caller identifier
above , the location identifier field ( 119 ) may store one or        10 179 , a caller username 183 , a timeout 181 , and a timestamp
more of an IP address of the mobile telephone ( 12 ) in a                182 ) are preferably initialized with default “ null ” values
wireless IP network , an identifier of a wireless voice signal           when a record is created . The fields for storing a local calling
station in wireless communication with the mobile tele-                  area identifier 171 , an access code 173 , a channel identifier
phone , and a user - configured identifier. One or more of these         175 preferably remain generally constant during ordinary
values may be used to identify a local calling area that is or        15 operation of the access code association table 170 , although
is likely to be associated with the mobile telephone ( 12 ) in           the values stored in the fields for storing a callee identifier
order to generate a local calling area identifier to be stored           177 , a caller identifier 179 , a caller username 183 , a timeout
in the local calling area identifier store 245 .                         181 , and a timestamp 182 may vary as described below . It
   For example, it has been found that services available                will be appreciated that in some embodiments, one or more
from web sites such as http://www.ip2location.com/ and                20 of the fields for storing a local calling area identifier 171 , a
http://www.serviceobjects.com/products/dots_ipgeo.asp, for               channel identifier 175 , a caller identifier 179 , a caller user
example , can produce a name of a location , and also latitude           name 183 , a timeout 181 , and a timestamp 182 may not be
and longitude values , associated with an IP address. Using              required and be omitted .
this information derived from an IP address , or other infor-               As noted above, the local calling area identifier field 171
mation from the location identifier field ( 119 ) , a local calling   25 is preferably initialized with an identifier of a local calling
area may be identified by hierarchical jurisdictional desig-             area associated with the channel. The local calling area
nations ( such as country, province, and city in Canada or               identifier field 171 preferably stores codes that are encoded
country, state , and city in the United States ) and encoded as          in the same manner as the codes in the local calling area
codes identifying the local calling area . These codes may               identifier store 245 , as described above, so that an access
then be stored in the local calling area identifier store 245.        30 code in the local calling area identified by the codes in the
Access Code Association Table                                            local calling area identifier store 245 may be identified by
   In the illustrated embodiment, the table memory 238                   searching the access code association table 170 for an access
( shown in FIG . 8 ) includes an access code association table           code associated with a local calling area identifier in the
170 , an example of which is illustrated in FIG . 10 , for               associated local calling area identifier field 171 that matches
associating access codes with callee identifiers, caller iden- 35 the local calling area identifier in the local calling area
tifiers, caller usernames, timeouts , and timestamps.             identifier store 245. It has been found that information
Although the routing controller ( 30 ) is illustrated in this available from web sites such as http://en.wikipedia.org/
embodiment as a separate component from the access server wiki/ List_of_NANP_area_codes, and services available
( 14 ) , it will be appreciated that in other embodiments, the from web sites such as http://www.serviceobjects.com/
routing controller (30 ) may be part of or integrated with the 40 demos /PhoneExchangeDemo.asp, for example, may be used
access server ( 14 ) , and in these other embodiments, the to determine a local calling area identifier associated with a
access code association table 170 may be part of or inte- given access code where, for example, the access code is a
grated with the access server .                                   PSTN telephone number.
   Referring to FIGS . 1 and 10 , the access code association        In the exemplary access code association table 170 , the
table 170 generally includes a plurality of records, each 45 access codes in the access code fields 173 are telephone
having an access code field 173 storing an access code . The numbers for PSTN lines , three of which are in the 604 area
access codes in the access code association table 170 may code in Vancouver, British Columbia , Canada, and two of
thus form a pool of access codes , where each access code which are in the 416 area code in Toronto , Ontario , Canada .
may identify a respective telephone number. In the illus- It will be appreciated that the access code association table
trated embodiment, the access codes in the access code fields 50 170 is an example only, and other access code association
173 of records of the access code association table 170 tables may include any number of access codes , which need
identify respective channels ( illustrated by example only as not be PSTN telephone numbers , and which need not be
20 , 22 , and 24 ) that are operably configured to cooperate limited to particular geographical areas.
with the IP network 26 via the gateway 18 to cause a call          In the exemplary access code association table 170 , the
involving the mobile telephone 12 to be routed through the 55 access code field 173 in the record 174 stores an access code
IP network .                                                     1-604-345-2323 , which may be a local telephone number for
  Referring to FIG . 10 , the exemplary access code associa-             Vancouver, British Columbia, Canada , and the callee iden
tion table 170 includes records 172 , 174 , 176 , 178 , and 180 ,        tifier field 177 of the record 174 stores a callee identifier
each having respective fields for storing a local calling area           1-403-789-1234 , which may be a telephone number for a
identifier 171 , an access code 173 , a channel identifier 175 , 60 callee in Calgary, Alberta , Canada for example , thereby
a callee identifier 177 , a caller identifier 179 , a caller associating the callee identifier 1-403-789-1234 with the
username 183 , a timeout 181 , and a timestamp 182. Gen- access code 1-604-345-2323 . Furthermore, the caller iden
erally, a record in the access code association table 170 will           tifier field 179 of the record 174 stores a caller identifier
be created for each access code that identifies a channel                1-416-444-1441 and the caller username field 183 stores a
( such as the channels 20 , 22 , and 24 illustrated in FIG . 1 ) 65 caller username 2001 1050 8667 , thereby associating the
that is configured or configurable to establish communica-               caller identifier 1-416-444-1441 and caller username 2001
tion through a gateway ( such as the gateway 18 illustrated in           1050 8667 with the aforementioned access code and callee
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                                                     US 10,880,721 B2
                              19                                                                        20
identifier. The caller identifier 1-416-444-1441 may be asso-              The exemplary DID bank table record 370 further
ciated with a mobile telephone normally geographically                   includes a callee identifier field 374 , a caller identifier field
located in Toronto , Ontario , Canada , but which may be in              375 , a timeout field 376 , a timestamp field 377 , a local
Vancouver and is therefore using a Vancouver -based access               calling area identifier field 378 , a channel identifier field
code to place a call to a Calgary - based number, for example.      5    379 , and a caller username field 381 , which may be used in
In the example record 174 , the timestamp field 182 indicates            an analogous manner to the callee identifier field 177 , the
that the callee identifier 1-403-789-1234 , the caller identifier        caller identifier field 179 , the timeout field 181 , the time
1-416-444-1441 , and the caller username 2001 1050 8667                  stamp field 182 , the local calling area identifier field 171 , the
were associated with the access code 1-604-345-2323 on                   channel identifier field 175 , and the caller username field
Jun . 15 , 2008 at 10:31 am , and the timeout field 181             10   183 respectively of the access code association table 170
indicates that this association is to expire 10 minutes after            illustrated in FIG . 10. The DID bank table records 370 may
the time indicated in the timestamp field.                               thus associate access codes with respective local calling area
   Likewise, the exemplary record 178 indicates that the                 identifiers , callee identifiers , caller identifiers , caller user
callee identifier 1-604-321-1234 , the caller identifier 1-416-          names, timeouts , and timestamps , although the caller iden
444-1234 , and the caller username 2001 1050 4141 were              15   tifier field 375 , timeout field 376 , timestamp field 377 , local
associated with the access code 1-416-234-4646 on Jun . 15 ,             calling area identifier field 378 , channel identifier field 379 ,
2008 at 2:21 pm , and the timeout field 181 of the record 178            and caller username field 381 may not be necessary, and one
indicates that this association is to expire within 10 minutes           or more of these fields may be omitted in some embodi
of the time in the timestamp field 182 .                                 ments .
   It will also be appreciated that the access code association     20      Furthermore, it will be appreciated that the callee identi
table 170 may, in other embodiments, be substituted with                 fier field 374 , caller identifier field 375 , timeout field 376 ,
other data structures or storage media . For example, in                 and timestamp field 377 of the DID bank table record 370
alternative embodiments, as described below, a DID record                may be omitted for DID table records that are not in respect
of the type shown at 370 in FIG . 11 may associate an access             of access codes , but rather are in respect of telephone
code with a callee identifier and with other information such 25         numbers of users of the system , for example , as described in
as a caller identifier, a timeout value , and a timestamp value ,        PCT Publication No. 2008/052340 . The callee identifier
additionally or alternatively to the access code association             field 374 , caller identifier field 375 , timeout field 376 , and
table 170 .                                                  timestamp field 377 of the DID bank table record 370 may
DID Bank Table Records                                       also be omitted in embodiments where the access code
  As described in PCT Publication No. 2008/052340 , a DID 30 association table 170 includes records with these types of
bank table record may be created and stored in a DID bank      fields.
table in the database (23 in FIG . 1 ) when a user registers      For simplicity , the following description is directed to
with the system , to associate the username of the user and a embodiments wherein an access code association table 170
host name of the node with which the user is associated , with associates access codes with respective callee identifiers,
a number on the PSTN network formatted in compliance 35 caller identifiers, timeout values , and timestamp values.
with the E.164 standard set by the International Telecom- However, it will be appreciated that the processes described
munication Union ( ITU) . However, as explained below, DID herein for records in the access code association table 170
records may , in some embodiments, also associate user- may additionally or alternatively be applied to DID bank
names and host names with respective access codes , and table records 370 in an analogous manner.
may also associate access codes with respective callee 40 Access Code Generator
identifiers and with other information such as caller identi-              Referring back to FIGS . 1 , 4 , and 8 in the illustrated
fiers , timeout values , and timestamp values .                embodiment as described above , the access server 14 trans
   Referring to FIG . 11 , an exemplary DID bank table record mits (at block 196 illustrated in FIG . 7 ) an access code
is shown generally at 370 , and includes a username field request message 110 to the routing controller 30 in order to
371 , a user domain field 372 , and a DID field 373. The 45 obtain from the routing controller 30 an access code . When
username field 371 may store a username of a user of the an access code request message 110 is received at the access
system , in which case the user domain field 372 stores a host server interface 242 , the processor 232 preferably authenti
name of the node with which the user is associated, and the cates the user by making various enquiries of databases to
DID field 373 stores an E.164 number on the PSTN network                 which it has access , to determine whether or not the pass
associated with the user. Exemplary host names stored in the 50 word in the password field 114 of the access code request
user domain field 372 include sp.yvr.digifonica.com for message 110 matches a password stored in the database in
Vancouver, British Columbia, Canada and sp.lhr.digifonica- association with the username in the username field 112 .
.com for London England, for example , as described in PCT Various functions may be used to pass encryption keys or
Publication No. 2008/052340 . If the user has multiple tele- hash codes back and forth to ensure that the transmittal of
phone numbers, then multiple records of the type shown at 55 passwords is secure . If the user is successfully authenticated ,
370 would be included in the DID bank table, each having the processor 232 then preferably produces an access code .
the same username and user domain , but different DID field    Referring to FIGS . 8 and 12 , a process for producing an
373 contents reflecting the different telephone numbers access code is shown generally at 270. Essentially the
associated with that user.                                   process 270 determines whether the access code in a given
   However, DID fields 373 of DID bank table records 370 60 record (referred to below as the " currently addressed
may also store access codes , in which case the username record ”) in the access code association table shown at 170 in
field 371 may store a username associated with the access FIG . 10 is within the local calling area identified by the local
code . In these DID bank table records 370 , the user domain calling area identifier store 245 , and whether the access code
field 372 stores a host name of the node with which the is currently available for association with a callee identifier.
access code is associated . Therefore , DID bank table records 65 In order to produce an access code in response to receiving
370 may, in some embodiments, associate usernames and an access code request message ( 110 ) from the access server
host names with respective access codes .                         ( 14 ) , the processor 232 of the routing controller ( 30 ) pref
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                               21                                                                      22
erably searches the pool of access codes in the access code             access code field 173 of the currently addressed record in the
association table ( 170 ) to identify an access code identifying        access code store 250 of the temporary memory 240 of the
a channel usable by the mobile telephone ( 12 ) to initiate a           routing controller 30 .
call to the callee , using the process 270 until an available              Referring to FIGS . 8 , 10 , and 12 , if at block 274 the callee
access code in the local calling area identified by the local 5         identifier field in the currently addressed record does not
calling area identifier store 245 is identified . The access code       store a callee identifier but stores instead the “ null ” value
generator thus preferably selects an access code from the               that was assigned to the callee identifier field on initializa
pool of access codes in the access code association table               tion ( for example, records 172 , 176 , and 180 ) , then the
( 170 ) , and preferably selects an access code in a local calling      access code of that record is not associated with a callee
area associated with the mobile telephone ( 12 ) .              10 identifier, and the process 270 continues at block 276 , which
   Starting with the first record in the access code association directs the processor 232 to store the access code from the
table , the process 270 begins at block 272 , which directs the access code field 173 of the currently addressed record, in
processor 232 of the routing controller ( 30 ) to determine the access code store 250 in the temporary memory 240 .
whether the access code in the currently addressed record of          After the selected access code is stored in the access code
the access code association table 170 is associated with the 15 store 250 at block 276 , the process 270 continues at block
same local calling area as the mobile telephone ( 12 ) as 280 , which directs the processor 232 to store the callee
identified by the contents of the local calling area identifier identifier from the callee identifier store 246 in the callee
store 245. If at block 272 the access code of the currently identifier field 177 of the currently addressed record , thereby
addressed record is not associated with the same local creating an association of the callee identifier with the
calling area as the mobile telephone ( 12 ) , the process 270 20 selected access code .
ends, the next record in the access code association table 170     The process 270 then continues at block 282 , which
is addressed , and the process is repeated for the next record  directs the processor 232 to store the caller identifier from
in the access code association table .                          the caller identifier store 248 (which identifies the mobile
   However, if at block 272 the access code of the currently telephone 12 shown in FIG . 1 ) in the caller identifier field
addressed record is associated with the same local calling 25 179 of the currently addressed record of the access code
area as the mobile telephone ( 12 ) , or if the access code association table 170 , thereby also storing the caller identi
request message 110 ( illustrated in FIG . 4 ) did not include fier in association with the selected access code .
a local calling area identifier, then the process 270 continues    The process 270 then continues at block 283 , which
at block 274 , which directs the processor 232 to determine directs the processor 232 to store the caller username from
whether the access code of the currently addressed record is 30 the caller username store 249 in the caller username field
associated with a callee identifier. To do this , the processor 183 of the currently addressed record of the access code
232 determines whether the callee identifier field ( 177 ) of           association table 170 , thereby also storing the caller user
the currently addressed record stores a “ null” value that was          name in association with the selected access code .
assigned to it on initialization , or whether the callee iden-             The process 270 then continues at block 284 , which
tifier field instead stores a callee identifier. In other words the 35 directs the processor 232 to store timeout and timestamp
processor checks to see whether the currently addressed values in the timeout and timestamp fields 181 and 182 of
record has already been in use .                                        the currently addressed record of the access code association
   If at block 274 the callee identifier field ( 177 ) of the           table 170 , thus further storing , in association with the
currently addressed record in the access code association               selected access code , a timestamp for use in determining
table ( 170 ) does store a callee identifier and not the “ null ”    40 when the usability of the access code to initiate a call to the
value that was assigned to the callee identifier field on               callee will expire. A default value , such as 10 minutes, for
initialization ( for example, records 174 and 178 in FIG . 10 ) ,       example may be stored in the timeout field 181 of the
then the access code of that record is associated with a callee         currently addressed record . Also , the current time indicated
identifier, and the process 270 continues at block 278 , which          by the clock 244 is preferably stored in the timestamp field
directs the processor 232 to determine whether the associa-          45 182 of the currently addressed record .
tion of the callee identifier with the access code has expired .           In alternative embodiments, the access code association
In the illustrated embodiment, the codes at block 278 direct            table ( 170 ) might not include fields for a caller identifier,
the processor 232 to determine whether the sum of the                   caller username, a timeout , or a timestamp. In these embodi
contents of the timestamp field ( 182 ) and of the timeout field        ments, one or more of blocks 282 , 283 , and 284 described
( 181 ) in the currently addressed record of the access code         50 above are not necessary , and one or more of the caller
association table 170 ( shown in FIG . 10 ) is less than the            identifier store 248 and the caller username store 249 may be
current time represented by the clock 244. If at block 278 the          omitted .
sum of the timeout and timestamp fields in the currently                   In summary , the access code generator in the illustrated
addressed record of the access code association table 170 is            embodiment responds to receiving an access code request
less than the time represented by the clock 244 , then the           55 message 110 illustrated in FIG . 4 from the access server ( 14 )
association of the callee identifier with the access code is not        by first authenticating the user, and then by searching
expired and the process 270 ends, the next record in the                through a pool of access codes, using the process 270 shown
access code association table ( 170 ) is addressed, and the             in FIG . 12 , to identify an access code that is associated with
process 270 is repeated for the next record in the access code          the local calling area identified by the local calling area
association table .                                          60 identifier store ( 245 ) and that is not previously and validly
  However, if at block 278 the sum of the contents of the       associated with another callee identifier. It will be appreci
timeout and timestamp fields ( 181 and 182 ) in the currently ated that in alternative embodiments, different data struc
addressed record of the access code association table ( 170 ) tures and algorithms may be preferable for identifying an
is not less than the time represented by the clock 244 , then access code that meets the aforementioned criteria . For
the association of the callee identifier with the access code 65 example , in accordance with conventional database design
has expired, and the process 270 continues at block 276 that is well -known in the art, the records illustrated in the
which directs the processor 232 to store the contents of the access code association table 170 illustrated in FIG . 10 may
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                              23                                                                   24
alternatively be organized in a binary tree according to the        ( 18 ) in the IP network ( 26 ) . The caller identifier may be
value in the local calling area identifier field 171 , or in determined by retrieving calling line identification (CLID )
separate tables for respective local calling area identifiers, information from the signal provided by the PSTN network
for example, in order to enable a more efficient search of the ( 29 ) to the gateway ( 18 ) for example . Where the caller
access code association table for an access code that satisfies 5 identification information is not available to the gateway
the aforementioned criteria . Therefore, the access code ( 18 ) , the caller identifier in the caller identifier field 312
association table ( 170 ) and the process 270 illustrated in preferably includes a pre -assigned number ( such as 11111 ,
FIG . 12 are examples only, and one of ordinary skill in the for example) indicating that the caller identification infor
art will readily appreciate numerous alternative data struc- mation was not available, followed by the “ @ ” symbol and
tures and algorithms.                                           10 then by the IP address of the gateway ( 18 ).
Gateway                                                              The callee identifier in the callee identifier field 314 is the
   Referring to FIG . 13 , in this embodiment , the gateway access code identifying the channel (20 , 22 , or 24 in the
( 18 ) includes a processor circuit shown generally at 300 , example of FIG . 1 ) on which the call was placed , and which
which includes a microprocessor 302. The processor circuit was received from the access server ( 14 ) . In the illustrated
300 also includes a program memory 304 , a memory 305 , 15 example , the access code is the PSTN telephone number
and an I /O port 306 , all of which are in communication with 1-604-345-1212 corresponding to the channel 20 illustrated
the microprocessor 302. The processor circuit 300 may in FIG . 1 , and to the access code stored in the access code
include multiple processors etc. , and the aforementioned field 173 of the record 172 in the exemplary access code
components of the processor circuit 300 may alternatively association table 170 illustrated in FIG . 10 .
be combined .                                                   20   The digest parameter in the digest parameter field 315 is
   The I/ O port 306 includes a channel interface 308 , which , generated by the gateway ( 18 ) and may uniquely identify the
in the illustrated embodiment, is in communication with the         SIP session that is initiated with the SIP Invite message 310 .
channels 20 , 22 , and 24 that were also illustrated in FIG . 1 .      The call identifier in the call identifier field 316 is , in the
Where , as in the illustrated embodiment, the channels 20 , illustrated embodiment, a four -digit hexadecimal number
22 , and 24 are PSTN telephone lines in the PSTN network 25 generated by the gateway ( 18 ) to identify the call , followed
29 , the channel interface 308 may , for example, be a T1 port by the “ @ ” symbol, which in turn is followed by the IP
for communication with one or more T1 lines ( illustrated at        address of the gateway.
27 in FIG . 1 ) of a PSTN service provider, in a manner               The IP address in the IP address field 317 is the IP address
well-known in the art. The I /O port in the illustrated embodi-     of the gateway ( 18 ) in the IP network ( 26 ) , and the gateway
ment also includes an internet interface 309 for interfacing 30 UDP port number in the gateway UDP port field 318
with the Internet Protocol ( IP ) network 26 illustrated in FIG . includes a UDP port identifier identifying a UDP port at
1. The program memory 304 stores blocks of codes for which the audio /video path will be terminated at the gateway
directing the microprocessor 302 to carry out the functions ( 18 ) .
of the gateway ( 18 ) . It has been found that the AS5350           It should be noted that throughout the description of the
Universal Gateway available from Cisco Systems, Inc. of 35 embodiments of this invention , the IP/UDP addresses of all
San Jose , Calif. may , for example, be suitable as the gateway elements such as the gateway ( 18 ) will be assumed to be
( 18 ) .                                                          valid IP UDP
                                                                           /    addresses directly accessible via the Internet
    Referring back to FIG . 1 , and also still to FIG . 13 , when or a private IP network , for example, depending on the
a call is received on one of the channels 20 , 22 , or 24 , the specific implementation of the system . As such , it will be
microprocessor 302 causes the I/ O port 306 to use the 40 assumed , for example, that the gateway ( 18 ) will have an
internet interface 309 to send a Session Initiation Protocol        IP/UDP address directly accessible by the call controllers
( SIP ) Invite message to a pre -determined node with which and the media relays on their respective nodes, and those
the gateway 18 is associated , which in the illustrated addresses will not be obscured by Network Address Trans
embodiment is the first node 11. Generally, the gateway 18 lation (NAT) or similar mechanisms. In other words, the
will be associated with a node that is geographically closest 45 IP/UDP information contained in SIP messages ( for example
to the gateway, in order to minimize transmission times over the SIP Invite message or the RC Request message which
the IP network 26. In response to the SIP Invite message , the will be described below ) will match the IP/UDP addresses of
call controller 13 sends an RC request message to the routing the IP packets carrying these SIP messages .
controller 30 which makes various enquiries of the database        It will be appreciated that in many situations , the IP
23 to produce a routing message that is sent back to the call 50 addresses assigned to various elements of the system may be
controller 13. The call controller 13 then communicates with in a private IP address space , and thus not directly accessible
the media relay 28 to cause a communications link including from other elements. Furthermore , it will also be appreciated
an audio path ( and a videopath if a videophone call ) to be that NAT is commonly used to share a “ public ” IP address
established through the media relay to the same node, a between multiple devices, for example between home PCs
different node, or to a communications supplier gateway as 55 and IP telephones sharing a single Internet connection . For
shown generally at 34 to carry audio , and where applicable, example, the gateway ( 18 ) may be assigned an IP address
video traffic to the call recipient or callee .                   such as 192.168.0.5 . This address is located in so called
   Referring to FIG . 14 , an exemplary SIP Invite message is " non -routable” (IP) address space and cannot be accessed
shown generally at 310 and includes a caller identifier field directly from the Internet. In order for this device to com
312 , a callee identifier field 314 , a digest parameter field 60 municate with other computers located on the Internet, the
315 , a call identifier field 316 , an IP address field 317 , and IP address has to be converted into a " public " IP address, for
a gateway UDP port field 318. Examples of values for the example 24.14.102.5 assigned by the Internet Service Pro
fields in the SIP Invite message 310 are shown for illustra- vider, by a device performing NAT, typically a router. In
tion purposes only in FIG . 14. The caller identifier in the addition to translating the IP address, NAT typically also
caller identifier field 312 is preferably in the form of the 65 translates UDP port numbers, for example an audio path
telephone number of the caller followed by the “ @ ” symbol,        originating at the gateway ( 18 ) and using a UDP port 12378
which in turn is followed by the IP address of the gateway          at its private IP address, may have be translated to a UDP
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                                                     US 10,880,721 B2
                              25                                                                 26
port 23465 associated with the public IP address of the NAT       Referring to FIG . 17 , an exemplary RC request message
device. In other words, when a packet originating from the     is shown generally at 360 and includes a caller identifier
gateway ( 18 ) arrives at an Internet -based node , the source field 362 , a callee identifier field 364 , a digest parameters
IP /UDP address contained in the IP packet header will be field 366 , and a call identifier field 368. These fields may be
24.14.102.5:23465 , whereas the source IP /UDP address 5 populated with the contents of the caller identifier field 312 ,
information contained in the SIP message inside this IP callee identifier field 314 , digest parameter field 315 , and
packet will be 192.168.0.5:12378 . The mismatch in the call identifier field 316 respectively of the SIP Invite mes
IP /UDP addresses may cause a problem for SIP - based VoIP sage 310 illustrated in FIG . 14. In other embodiments, the
systems because , for example, a node will attempt to send RC request message may further include a type field ( not
messages to a private address but the messages will never 10 shown ) containing a type code to indicate whether the call
get there.                                                   is from a third party or from a system subscriber. Other
Call Controller                                               variations of an RC request message are explained in PCT
  Referring to FIG . 15 , the call controller ( 13 ) includes a
                                                              Publication No. WO 2008/052340 . A type field (not shown)
processor circuit shown generally at 320. The processor in the RC request message 360 may be advantageous in
circuit 320 includes a microprocessor 322 , program memory 15 embodiments where SIP Invite messages may also be
324 , and an I/ O port 326. The program memory 324 and the received from an IP telephone that is using VoIP software to
I /O port 326 are in communication with the microprocessor make a voice call . However, in the embodiments that are
322. The processor circuit 320 may include a plurality of illustrated herein , SIP Invite messages originate from the
microprocessors, a plurality of program memories, and a gateway ( 18 ) , and therefore a type designation is not nec
plurality of I/ O ports to be able to handle a large volume of 20 essary and may be omitted from the RC request message
calls . However, for simplicity, the processor circuit 320 will 360. In embodiments where a SIP Invite message may be
be described as having only one microprocessor 322 , pro received from an IP telephone, the SIP invite to RC request
gram memory 324 , and I /O port 326 , it being understood that process shown in FIG . 16 may require additional steps, as
there may be more .                                               illustrated in FIG . 5 of PCT Publication No. WO 2008 /
    Generally, the I/ O port 326 includes an input 328 for 25 052340 .
receiving messages such as the SIP Invite message from the RC Request Message Handler
gateway ( 18 ) or from a VoIP telephone ( 36 in FIG . 1 , for        As illustrated in FIG . 8 , the program memory 234
example ). The I /O port 326 also has an RC request message includes an RC request message handler 380 which directs
output 330 for transmitting an RC request message to the the routing controller (30 ) to produce a routing message in
routing controller 30 of FIG . 1 , an RC message input 332 for 30 response to a received RC request message (360 ) . Referring
receiving routing messages from the routing controller 30 , a to FIG . 18A , the RC request message handler 380 begins
gateway output 334 for transmitting messages to the gate- with a first block 382 that directs the RC processor circuit
way 18 and / or 34 shown in FIG . 1 to advise the gateway 18 ( 230 ) to separately store the contents of the callee identifier
and / or 34 to establish an audio path , for example, and a         field 364 and caller identifier field 362 of the RC request
gateway input 336 for receiving messages from the gateway 35        message (360) in the callee identifier store 246 and the caller
18 and /or 34. The I/ O port 326 further includes a SIP output      identifier store 248 respectively of FIG . 8 .
338 for transmitting messages to the gateway ( 18 and / or 34 )        Block 384 then directs the RC processor circuit ( 230 ) to
or VoIP telephone ( 36 , for example ) to advise the gateway 18     use the contents of the caller username store 249 to locate
and / or 34 or IP telephone of the IP addresses of the gateways     and retrieve from the database (23 ) a dialing profile 200
which will establish the audio /video path . The I /O port 326 40   associated with the caller, as described above and illustrated
further includes a voicemail server input and output 340 and in FIG . 9 , for example . The retrieved dialing profile may
342 respectively for communicating with the voicemail then be stored in the temporary memory 240 , for example.
server 19 shown in FIG . 1 .                                          The RC request message handler 380 continues at block
   While certain inputs and outputs have been shown as 386 , which directs the processor circuit (230 ) of the routing
separate, it will be appreciated that some may be a single IP 45 controller to determine whether the contents of the current
address and IP port. For example, the messages sent to the number of concurrent calls field 222 of the dialing profile
routing controller (30 ) and received from the routing con-        200 shown in FIG . 9 are less than the contents of the
troller (30 ) may be transmitted and received on the same maximum number of concurrent calls field 220 of the dialing
single IP port.                                                    profile for the caller and, if so , block 388 directs the
   The program memory 324 includes blocks of code for 50 processor circuit to increment the contents of the current
directing the microprocessor 322 to carry out various func- number of concurrent calls field 222 and the processor
tions of the call controller ( 13 ) . For example, these blocks of circuit ( 230 ) is directed to point A in FIG . 18B . If the
code include a first block 344 for causing the processor            contents of the current number of concurrent calls field 222
circuit 320 to execute a SIP Invite to RC Request process to        are equal to or greater than the contents of the maximum
produce an RC Request Message in response to a received 55 number of concurrent calls field 220 , then block 390 directs
SIP Invite message . In addition, there is a Routing Message  the processor circuit (230 ) to send an error message back to
to Gateway message block 346 which causes the processor       the call controller ( 13 ) to cause the call controller to notify
circuit 320 of the call controller to produce a gateway query the caller that the maximum number of concurrent calls has
message inresponse to a received routing message from the     been reached and no further calls can exist concurrently,
routing controller (30 ) .                                    60
                                                              including the presently requested call .
   Referring to FIGS . 15 and 16 , the SIP Invite to RC         Assuming that block 386 allows the call to proceed, the
Request process is shown in more detail at 344. On receipt RC processor circuit ( 230 ) is directed to perform certain
of a SIP Invite message of the type shown in FIG . 14 , block checks on the callee identifier in the callee identifier field
350 directs the processor circuit 320 to produce an RC 246 in FIG . 8. These checks are shown in greater detail in
Request Message . Block 352 then directs the processor 65 FIG . 18B .
circuit 320 to cause the RC Request Message to be sent to        Referring to FIG . 18B , the RC processor circuit ( 230 ) is
the routing controller 30 illustrated in FIG . 1 .                  directed to a first block 392 that causes it to determine
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                                                      US 10,880,721 B2
                               27                                                                        28
whether a digit pattern of the callee identifier includes a                 Referring to FIG . 19 , an exemplary gateway node asso
pattern that matches the contents of the international dialing            ciation table is shown generally at 480. The exemplary
digits ( IDD ) field 208 in the dialing profile 200 ( shown in            gateway node association table 480 includes first and second
FIG . 9 ) associated with the caller. If so , then block 394              records 482 and 484 , each having a respective gateway IP
directs the RC processor circuit (230 ) to set a call type code      5    address field 486 and a respective node identifier field 488 .
identifier variable maintained by the processor to indicate               It will be appreciated that the exemplary gateway node
that the call is an international call , and block 396 directs the        association table 480 is an example for illustration purposes
processor to produce a reformatted callee identifier by                   only. The values in the gateway IP address fields 486 are
reformatting the callee identifier into a predefined digit                preferably initialized when a gateway ( such as the gateway
format . In this embodiment, this is done by removing the            10   18 illustrated in FIG . 1 ) is installed as part of the system
pattern of digits matching the IDD field contents ( 208 ) of the          ( 10 ) , and are preferably updated as the IP addresses of the
caller dialing profile 200 to effectively shorten the callee              respective gateways may change from time to time . The
identifier. Then, block 398 directs the RC processor circuit              values in the node identifier fields 488 are also preferably
( 230 ) to determine whether or not the callee identifier has a           initialized when a gateway ( such as the gateway 18 illus
length which meets criteria establishing it as a number              15   trated in FIG . 1 ) is installed as part of the system ( 10 ) .
compliant with the E.164 Standard set by the ITU . If the                    As indicated above, the reformatted callee identifier in the
length does not meet these criteria , then block 400 directs              callee identifier store ( 246 in FIG . 8 ) was set at block 404 in
RC processor circuit (230 ) to send back to the call controller           FIG . 18B to be a username of the callee from the username
( 13 ) a message indicating the length is not correct . The               field 371 ( illustrated in FIG . 11 ) , and in this embodiment, a
process 380 is then ended . At the call controller 13 , routines     20   prefix of the username of the callee preferably indicates a
( not shown ) stored in the program memory 324 may direct                 node associated with the callee . In the illustrated embodi
the processor circuit ( 320 of FIG . 15 ) to respond to the               ment, the left-most digit in the username of the callee is a
incorrect length message by transmitting a message back to                continent code , which is a sufficient prefix to identify a node
the mobile telephone ( 12 shown in FIG . 1 ) to indicate that             associated with the callee . However, it will be appreciated
an invalid number has been dialed .                                  25   that in other embodiments, other prefixes or other informa
    If the length of the amended callee identifier meets the              tion may identify the associated node . Preferably, the values
criteria set forth at block 398 , then block 402 directs the RC           in the node identifier fields 488 correspond to the prefixes of
processor circuit ( 230 ) to make a database request to the               the usernames in the username fields 371 (illustrated in FIG .
database ( 23 ) to determine whether or not the amended 11 ) , so that the node associated with the callee is the same
callee identifier is found in the DID field ( 373 ) of a record 30 node that is associated with the gateway 18 illustrated in
such as shown in FIG . 11 in the DID bank table . If at block FIG . 1 if the prefix of the username of the callee matches the
402 the RC processor circuit ( 230 ) receives a response from node identifier associated with the gateway ( 18 ) . Therefore ,
the database (23 ) indicating that the reformatted callee           in the illustrated embodiment, if the reformatted callee
identifier produced at block 396 is found in the DID field identifier in the callee identifier store (246 in FIG . 8 ) is 2001
( 373 ) of a record in the DID bank table , then the callee is a 35 1050 8667 , for example, then in the example of FIG . 19 , the
subscriber to the system and the call is classified as a private node associated with the callee is the same node as the node
network call by directing the processor to block 404 , which identified by the continent code “ 2 ” that is associated with
directs the RC processor circuit (230 ) to copy the contents the gateway associated with the IP address 20.14.102.5 in
of the corresponding username field (371 in FIG . 11 ) from the record 482 , but is not the same node as the node
the callee DID bank table record ( 370 in FIG . 11 ) into the 40 identified by the continent code “ 5 ” that is associated with
callee identifier store (246 in FIG . 8 ) . Thus , the RC proces- the gateway associated with the IP address 104.12.131.12 in
sor circuit ( 230 ) locates a subscriber username associated              the record 484 .
with the reformatted callee identifier. The processor ( 232 ) is       Referring back to FIG . 18A , if at block 406 the prefix of
then directed to point B in FIG . 18A .                             the username of the callee does not match the node identifier
Calls to Subscribers in Different Nodes                          45 associated with the gateway ( 18 ) , then the call is a " cross
   Referring back to FIG . 1 , as noted above , the gateway 18 domain ” call , and block 408 in FIG . 18A directs the pro
is preferably associated with a pre -determined node, which cessor ( 232 in FIG . 8 ) to set a call type flag in the temporary
in the illustrated embodiment is the first node 11. Referring memory ( 240 in FIG . 8 ) to indicate the call is a cross - domain
back to FIG . 18A , block 406 directs the processor (232 of call . Then, block 410 of FIG . 18A directs the processor (232
FIG . 8 ) to execute a process to determine whether or not the 50 of FIG . 8 ) to produce a routing message identifying an
node associated with the reformatted callee identifier in the             address on the private network with which the callee iden
callee identifier store (246 in FIG . 8 , which , at block 404 ,          tified by the contents of the callee ID buffer is associated and
was set to be a username of the callee ) is the same node that            to set a time to live for the call at a maximum value of 99999 ,
is associated with the gateway 18 illustrated in FIG . 1 .                for example . Routing messages and time to live values , and
  To do this , the processor (232) may, for example ,identify 55 also a method of determining the node in the system with
a node associated with the gateway ( 18 ) by using an IP which the callee is associated, are further described in PCT
address associated with the gateway to determine a node Publication No. WO 2008/052340 . Once a routing message
identifier of the gateway. An IP address associated with the is produced at block 410 , block 412 directs the processor
gateway ( 18 ) may , for example , be obtained from either the (232 in FIG . 8 ) to cause the routing message to be sent to the
caller identifier field 362 or the call identifier field 368 of the 60 call controller 13 shown in FIG . 1 , and the process ends.
RC request message 360 illustrated in FIG . 17 , as each of               Referring back to FIG . 18B , if at block 392 , the callee
these fields includes a portion following an “ @ ” symbol that identifier stored in the callee identifier store (246 in FIG . 8 )
indicates an IP address of the gateway. In order to determine does not begin with an international dialing digit , then block
a node identifier associated with the gateway ( 18 ) using the 414 directs the processor (232 ) to determine whether or not
IP address associated with gateway ( 18 ) , the processor 232 65 the callee identifier begins with the same national dial digit
( illustrated in FIG . 8 ) may access a gateway node associa- code as assigned to the caller. To do this, the processor ( 232 )
tion table stored in the database 23 ( illustrated in FIG . 1 ) . is directed to refer to the retrieved caller dialing profile as
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                               29                                                                        30
shown in FIG . 9. In FIG . 9 , the national dialing digit code            identifier by prepending to the callee identifier the caller
206 is the number 1. Thus, if the callee identifier begins with           country code (as indicated by the country code field 210 of
the number 1 , then the processor ( 232 ) is directed to block            the retrieved caller dialing profile 200 shown in FIG . 9 )
416 in FIG . 18B .                                                        followed by the caller area code as indicated by the local
  Block 416 directs the processor ( 232 of FIG . 8 ) to              5    area code stored in the local area code field 212 of the caller
examine the callee identifier to determine whether or not the             dialing profile 200 shown in FIG . 9. The processor ( 232 ) is
digits following the NDD digit identify an area code that is              then directed to block 398 of FIG . 18B for further processing
the same as any of the area codes identified in the local area            as described above .
codes field 212 of the caller dialing profile 200 shown in                   If at block 430 , the callee identifier has a length that does
FIG . 9. If not , block 418 of FIG . 18B directs the processor       10   not fall within the range specified by the caller minimum
( 232 ) to set the call type flag to indicate that the call is a          local number length field (214 in FIG . 9 ) and the caller
national call . If the digits following the NDD digit identify            maximum local number length field (216 in FIG . 9 ) , or if
an area code that is the same as a local area code associated             there is more than one area code identifier stored in the local
with the caller as indicated by the caller dialing profile ,              area code field 212 of the retrieved caller dialing profile 200
block 420 directs the processor (232 ) to set the call type flag     15   illustrated in FIG . 9 , then block 436 directs the processor
to indicate a local call , national style. After executing block          (232 ) to send an error message back to the call controller
418 or 420 , block 422 directs the processor (232 ) to format             ( 13 ) , and the process ends .
the callee identifier into a pre -defined digit format to pro-               In alternative embodiments, such as those illustrated in
duce a re - formatted callee identifier by removing the                   PCT Publication No. WO 2008/052340 , an additional block
national dialed digit and prepending a caller country code           20   (402 in FIG . 8B of PCT Publication No. WO 2008/052340 )
identified by the country code field 210 of the caller dialing            may determine whether the callee identifier is a valid
profile shown in FIG . 9. The processor ( 232 ) is then directed          username . However, in the embodiment disclosed herein ,
to block 398 of FIG . 18B to perform other processing as                  the callee identifier is assumed to be a telephone number of
already described above .                                                 the callee , and not a username.
   If at block 414 , the callee identifier does not begin with a     25      From FIG . 18B , it will be appreciated that there are
national dialed digit , block 424 directs the processor ( 232 )           certain groups of blocks of codes that direct the processor
to determine whether the callee identifier begins with digits             232 in FIG . 8 to determine whether the callee identifier has
that identify the same area code as the caller. Again, the              certain features such as an international dialing digit , a
reference for this is the retrieved caller dialing profile shown        national dialing digit , an area code and a length that meet
in FIG . 9. The processor (232 ) determines whether or not the       30 certain criteria, and cause the processor 232 to reformat the
first few digits of the callee identifier identify an area code         callee identifier stored in the callee identifier store 246 in
corresponding to the contents of any area code identifier               FIG . 8 , as necessary into a predetermined target format
stored in the local area code field 212 of the retrieved caller         including only a country code , area de, and a normal
dialing profile 200 (illustrated in FIG . 9 ) . If so , then block      telephone number, for example, to cause the callee identifier
426 directs the processor (232 ) to set the call type flag to 35 to be compatible with the E.164 number plan standard in this
indicate that the call is a local call . It should be noted that          embodiment. This enables block 402 in FIG . 18B to have a
the call will not necessarily be a local call in every case         consistent format of callee identifiers for use in searching
where the first few digits of the callee identifier identify an     through the DID bank table records 370 of the type shown
area code corresponding to the contents of an area code in FIG . 11 to determine how to route calls to subscribers on
identifier stored in the local area code field 212 ( illustrated 40 the samesystem . Effectively, therefore blocks 392 , 414 , 424,
in FIG . 9 ) , and other determinations of when a call is to be and 430 establish call classification criteria for classifying
considered local may be appropriate . However, it has been the call as a public network call or a private network call .
found that the determination described above for block 424                Block 402 classifies the call , depending on whether or not
is satisfactory for some purposes . Next, block 428 directs the           the formatted callee identifier has a DID bank table record,
processor (232 ) to format the callee identifier into a pre- 45 and this depends on how the call classification criteria are
defined digit format to produce a reformatted callee identi- met .
fier by prepending the caller country code to the callee Calls to Non - Subscribers
identifier, the caller country code being determined from the           Not all calls will be to subscribers, and this will be
country code field 210 of the retrieved caller dialing profile detected by the processor 232 of FIG . 8 when it executes
200 shown in FIG.9 . The processor ( 232 ) is then directed to 50 block 402 in FIG . 18B , and does not find a DID bank table
block 398 for further processing as described above .                 record (370 illustrated in FIG . 11 ) that is associated with the
   If at block 424 , the callee identifier does not start with the callee , in the DID bank table . When this occurs , the call is
same area code as the caller, block 430 directs the processor classified as a public network call , by directing theprocessor
( 232 of FIG . 8 ) to determine whether the number of digits ( 232 ) to point C in FIG . 18C .
in the callee identifier, i.e. the length of the callee identifier, 55 Referring to FIG . 18C , block 438 directs the processor
is within the range of digits indicated by the caller minimum             (232 ) to determine whether the formatted callee identifier in
local number length field 214 and the caller maximum local                the callee identifier store 246 in FIG . 8 corresponds to an
number length field 216 of the retrieved caller dialing profile           access code in the access code field 173 of a record in the
200 shown in FIG . 9 , and whether there is more than one                 access code association table 170 illustrated in FIG . 10 that
area code identifier stored in the local area code field 212 of 60 is associated with a callee identifier. Because the callee
the retrieved caller dialing profile. If the number of digits in    identifier in the callee identifier store 246 in FIG . 8 has been
the callee identifier is within the aforementioned range and        formatted as described above with reference to FIG . 18B ,
there is only one area code identifier stored in the local area     block 438 may involve determining whether an access code
code field (212 ) , then block 432 directs the processor ( 232 )    in the access code field 173 of a record of the access code
to set the call type flag to indicate a local call and block 434 65 association table 170 ( illustrated in FIG . 10 ) matches the
directs the processor ( 232 ) to format the callee identifier into formatted callee identifier in the callee identifier store 246 in
a pre -defined digit format to produce a reformatted callee               FIG . 8 , and also whether a callee identifier ( as opposed to the
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                               31                                                                    32
“ null” value assigned on initialization ) is stored in the callee      store 246 of FIG . 8 to be the newly formatted callee
identifier field 177 in association with the access code . As  identifier, i.e. , a number compatible with the E.164 standard .
noted above , for simplicity, this description is directed to  Then , block 450 of FIG . 18B directs the processor (232 ) to
embodiments wherein an access code association table 170       generate a routing message identifying a gateway to the
associates access codes with respective callee identifiers , 5 public network usable by the call controller ( 13 ) to establish
caller identifiers, timeout values , and timestamp values , a “ public system ” call . In one embodiment, block 450
although it will be appreciated that the processes described            includes codes that, for example, direct the processor ( 232 )
herein for records in the access code association table 170             to search a database of route or master list records and to
may additionally or alternatively be applied to DID bank                search a database of supplier records to identify at least one
table records 370 in an analogous manner.                            10 supplier operable to supply a communications link for the
   If at block 438 the formatted callee identifier in the callee        call , and to load a routing message buffer with supplier
identifier store 246 in FIG . 8 is the same as an access code           information , time to live values , and timeout values . An
in the access code field ( 173 ) of a record of the access code example of an implementation of these steps is described
association table 170 illustrated in FIG . 10 that is associated with reference to blocks 410 , 412 , 560 , 562 , 563 , 564 , 566 ,
with a callee identifier, then block 440 directs the processor 15 and 571 in FIGS . 8B and 8D in PCT Publication No. WO
( 232 ) to determine whether the caller identifier in the caller 2008/052340 . Next, block 452 directs the processor 232 of
identifier store 248 ( illustrated in FIG . 8 ) is the same as the FIG . 10 to send the routing message to the call controller 13
caller identifier in the caller identifier field ( 179 ) of the in FIG . 1 , and the process ends .
record of the access code association table ( 170 ) , and thus Calls to Subscribers within the Same Node
whether the caller identifier in the caller identifier field ( 179 ) 20 Referring back to FIG . 18A , if at block 406 , the prefix of
of the record of the access code association table ( 170 ) the username of the callee matches the node identifier
identifies the mobile telephone identified by the caller iden- associated with the gateway ( 18 ) , then the call is on one
tifier in the caller identifier store 248. If not , then block 442 domain , and block 454 directs the processor (232 ) to use the
directs the processor ( 232 ) to send an error message to the callee identifier in the callee identifier store 246 illustrated in
call controller ( 13 ) , and the process ends.                       25 FIG . 8 (which, at block 404 , was set to be a username of the
   But if at block 440 the caller identifier in the caller callee) to locate and retrieve a dialing profile for the callee .
identifier store 248 (illustrated in FIG . 8 ) corresponds to the The dialing profile may be of the type shown in FIG . 9 , for
caller identifier in the caller identifier field ( 179 ) of the example . Block 456 of FIG . 18A then directs the processor
record of the access code association table ( 170 ) , then the 232 of FIG . 8 to get call block , call forward , and voicemail
routing controller (30 ) will produce a routing message that 30 records from the database 23 of FIG . 1 , based on the
will cause the call controller to establish communication               username identified in the callee dialing profile retrieved by
through the IP network ( 26 ) to the callee in response to a call       the processor at block 454. Exemplary call block , call
received at a channel (20 , 22 , or 24 ) . Preferably, block 444        fo rd, and voicemail records are described in PCT Pub
includes codes that direct the processor (232 ) to determine            lication No. WO 2008/052340 .
whether the association of the access code with the callee 35              Then block 458 directs the processor 232 of FIG . 8 to
identifier has expired, and thus whether the usability of the           determine whether or not the caller identifier received in the
access code to initiate a call to the callee has expired, in the        RC request message matches a block pattern stored in the
manner described above for block 278 in FIG . 12. If at block           call block record associated with the callee and retrieved at
444 the association of the access code with the callee                  block 454. If the caller identifier matches a block pattern ,
identifier has expired , then block 442 directs the processor 40 then block 460 directs the processor to send a drop call or
( 232 ) to send an error message to the call controller ( 13 ) , and non - completion message to the call controller ( 13 ) and the
the process ends . Thus the routing controller produces a process is ended . If the caller identifier does not match a
routing message that causes the call controller to establish block pattern associated with the callee , then block 462
the call only when the association of the access code with the directs the processor (232 ) to determine whether or not call
callee identifier has not expired.                                  45 forwarding is required, as described in PCT Publication No.
   It will be appreciated that in alternative embodiments , one WO 2008/052340 .
or more of the caller identifier, timeout, and timestamp fields          If at block 462 , the call forwarding record for the callee
179 , 181 , and 182 may be omitted from the access code indicates that no call forwarding is required, then the pro
association table 170 illustrated in FIG . 10 , and in these            cessor ( 232 ) is directed to block 464 , which directs the
embodiments, one or more of the blocks 440 , 442 , and 444 50 processor (232 ) to generate a routing message identifying an
may also be omitted.                                                    address on the private network , associated with the callee for
   If at block 444 the association of the access code with the          a “ private system ” call . In one embodiment, block 464
callee identifier has not expired, or if one or both of blocks          includes codes that, for example, direct the processor ( 232 )
440 and 444 is omitted , then block 446 directs the processor to store , in a routing message buffer, a username and domain
( 232 ) to store the callee identifier from the callee identifier 55 of the callee , time to live values , and an IP address of the
field 177 of the record of the access code association table         current node , to determine whether or not the user identified
( 170 ) in the callee identifier store 246 illustrated in FIG . 8 . by the callee identifier has paid for voicemail service and if
The processor ( 232) is then directed to point A in FIG . 18B so , to store voicemail information in the routing message
to repeat the steps illustrated in FIG . 18B using the callee buffer. An example of an implementation of these steps is
identifier retrieved from the callee identifier field ( 177 ) in 60 described with reference to blocks 609 , 620 , 640 , 642 , and
the record of the access code association table ( 170 ) .            644 in FIGS . 8A and 8C in PCT Publication No. WO
   However, if at block 438 the formatted callee identifier in 2008/052340 , which is incorporated herein by reference.
the callee identifier store 246 in FIG . 8 does not correspond Next, block 466 directs the processor 232 of FIG . 8 to cause
to an access code in a record of the access code association            the routing message to be sent to the call controller 13 in
table 170 illustrated in FIG . 10 that is associated with a 65 FIG . 1 , and the process ends.
callee identifier, then block 448 of FIG . 18B causes the                  But if at block 462 , the call forwarding record for the
processor ( 232 ) to set the contents of the callee identifier          callee indicates that call forwarding is required, then block
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                           33                                                                         34
468 directs the processor (232 ) to search a dialing profile       audio /video from the gateways 18 and 34 , to the gateways
table to find a dialing profile record as shown in FIG . 9 , for   18 and 34 in one or more messages . The gateway 18 replies
the user identified by the destination number field of the call    to the call controller 13 with an IP address at which it would
forward record, as illustrated in PCT Publication No. WO           like to receive audio /video, and the call controller conveys
2008/052340 . The processor ( 232 ) is further directed to store 5 that IP address to the media relay 28. The call may then be
the username and domain for that user and a time to live conducted between the caller and callee through the media
value in a routing message buffer, an example of which is relay 28 and the gateways 18 and 34 .
described in PCT Publication No. WO 2008/052340 . This                   If the call controller 13 receives a routing message of the
process is repeated for each call forwarding record associ- type produced at block 464 shown in FIG . 18A , indicating
ated with the callee identified by the callee identifier store 10 that the callee is a system subscriber on the same node as the
246 in FIG . 8 to add to the routing message buffer all call gateway ( 18 ) ( such as a user of the VoIP telephone 36
forwarding usernames and domains associated with the illustrated in FIG . 1 ) , and which has at least one call
callee .                                                             forwarding number and /or a voicemail number, the call
   Referring to FIGS . 1 , 18A , and 18C , the routing message controller attempts to establish a call to the callee VoIP
sent at one of blocks 412 , 452 , and 466 is received at the call 15 telephone 36 by seeking from the callee telephone a message
controller 13 and the call controller interprets the receipt of indicating an IP address to which the media relay 28 should
the routing message as a request to establish a call . Referring send audio / video . If no such message is received from the
to FIG . 15 , the program memory 324 of the call controller callee telephone, no call is established . If no call is estab
13 includes a routing to gateway routine depicted generally lished within a pre - determined time , the call controller 13
at 346 .                                                        20 attempts to establish a call with the next user identified in the
   Where a routing message received at the call controller 13 call routing message in the same manner. This process is
is of the type produced at block 464 shown in FIG . 18A , repeated until all call forwarding possibilities have been
indicating that the callee is a system subscriber on the same exhausted , in which case the call controller communicates
node as the gateway ( 18 ) ( such as a user of the VoIP with the voicemail server 19 identified in the routing mes
telephone 36 illustrated in FIG . 1 ) , the routing to gateway 25 sage to obtain an IP address to which the media relay 28
routine 346 may direct the microprocessor 322 to cause a should send audio /video and the remainder of the process
message to be sent back through the IP network 26 shown mentioned above for establishing IP addresses at the media
in FIG . 1 to the VoIP telephone (36 ) , using the IP address of relay and the caller telephone is carried out to establish
the VoIP telephone (36 ) that is available from the callee audio / video paths to allowing the caller to leave a voicemail
username .                                                      30 message with the voicemail server .
   Alternatively, if the routing message received at the call        When an audio / video path through the media relay 28 is
controller 13 is of the type produced at block 410 shown in established , a call timer maintained by the call controller 13
FIG . A , identifying a domain associated with another preferably logs the start date and time of the call and logs the
node in the system , the call controller 13 may send a SIP call ID and an identification of the route (i.e. , audio / video
invite message along the high speed /high data throughput 35 path IP address) for later use in billing .
link 17 communication with the other node . The other Terminating the Call
node may function as explained above and in PCT Publi-         Referring back to FIG . 1 , in the event that the caller
cation No. WO 2008/052340 , in response to receipt of a SIP            terminates a call , the gateway 18 sends a SIP bye message
invite message.                                                        to the call controller 13. Similarly, in the event that the callee
   If the routing message received at the call controller 13 is 40     terminates the call , the gateway 34 or the VoIP telephone 36
of the type produced at block 450 shown in FIG . 18C ,                 of the callee sends a SIP bye message to the call controller
indicating that the callee is not a subscriber to the system           13. Exemplary SIP bye messages are described in PCT
( such as a user of the PSTN telephone 32 that is in                   Publication No. WO 2008/052340 . The SIP bye message is
communication with the IP network 26 through the gateway               received at the call controller 13 , and the call controller
34 as illustrated in FIG . 1 ) , the call controller sends one or 45   executes a process that involves decrementing the contents
more SIP invite messages to the suppliers identified in the            of the current number of concurrent calls field 222 dialing
routing message to identify the IP address of a supplier that          profile 200 of the caller as illustrated in FIG . 9 , generating
is able to carry the call , such as the IP address of the gateway      an RC call stop message ( not shown ), sending the RC call
34 illustrated in the example of FIG . 1. A process for                stop message to the routing controller 30 , and sending a
identifying the IP address of a supplier that is able to carry 50      “ bye” message to the party that did not terminate the call . An
the call is given in PCT Publication No. WO 2008/052340 ,              exemplary RC call stop message , and an example of how
which is incorporated herein by reference . In some cases , the        these steps may be implemented, are described in PCT
gateway of the supplier that is able to carry the call will be         Publication No. WO 2008/052340 , which is incorporated
the gateway 18 illustrated in FIG . 1 , that is , the same             herein by reference .
gateway through which the caller telephone ( 12 ) initiated the 55        When the routing controller 30 receives the RC call stop
call . For simplicity, the following description assumes that          message from the call controller 13 , the routing controller
the gateways 18 and 34 are distinct gateways. It will be               executes an RC call stop message process that involves
understood that in some cases , they may be the same                   making various updates to subscriber, reseller, and supplier
gateway, but in these cases , the following steps may still be         account records (not shown) following the call . Examples of
applied.                                                          60   subscriber, reseller, and supplier account records, and of
   Referring to FIG . 1 , the IP address of the gateway 34 is          updates to subscriber, reseller, and supplier account records,
sent in a message from the call controller 13 to the media             are described in PCT Publication No. WO 2008/052340 ,
relay 28 , which responds with a message indicating an IP              which is incorporated herein by reference .
address to which the gateway 18 should send its audio / video             While specific embodiments of the invention have been
traffic, and an IP address to which the gateway 34 should 65           described and illustrated , such embodiments should be con
send its audio / video for the call . The call controller conveys      sidered illustrative of the invention only and not as limiting
the IP address at which the media relay 28 expects to receive          the invention .
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                            35                                                                    36
  What is claimed is :                                                 13. The method of claim 1 , wherein receiving the access
   1. A method of establishing communications between a              code reply message comprises receiving , in the access code
wireless device and a destination node of a communications    reply message , an access code temporarily associated with
network , the method comprising:                              the destination node identifier.
  receiving from a user of the wireless device a destination 5 14. The method of claim 1 , wherein receiving the access
    node identifier associated with the destination node;     code reply message comprises receiving , in the access code
  transmitting an access code request message to an access reply message , a telephone number or an Internet Protocol
     server, the access code request message including the (IP ) address .
     destination node identifier and a location identifier       15. The method of claim 14 , wherein establishing com
     identifying a geographical location of the wireless 10 munications between the wireless device and the destination
     device;                                                  node comprises engaging a routing controller to route the
  receiving an access code reply message from the access call on a public switched telephone network ( PSTN) or an IP
     server in response to the access code request message , network to the destination node .
    the access code reply message including an access code       16. The method of claim 1 further comprising:
    based on the location identifier in the access code 15 receiving at the access server , the access code request
    request message , the access code identifying a com            message from the wireless device ;
    munications channel on a gateway through which com-          causing the access server to communicate with a routing
    munications between the wireless device and the des             controller to obtain from the routing controller the
     tination node can be conducted, the access code being                access code , wherein the access code identifies a com
     distinct from the destination node identifier; and         20        munications channel associated with the location iden
  in response to receiving the access code reply message ,         tifier and wherein the access code is useable by the
     causing the wireless device to use the access code            wireless device in a subsequent communication to
     received in the access code reply message to initiate         cause the routing controller to establish a call to the
     communications from the wireless device to the desti-         destination node using the communications channel;
     nation node through the channel identified by the 25          and
     access code , wherein the access code is based on the      causing the access server to transmit the access code reply
     location identifier transmitted in the access code           message to the wireless device.
     request message and enables the communications to be       17. The method of claim 16 , wherein transmitting the
     established from the wireless device to the destination access code reply message comprises transmitting the access
     node through the channel on the gateway identified by 30 code reply message as a Short Messaging Service ( SMS )
     the access code .                                               message .
   2. The method of claim 1 , wherein transmitting comprises        18. The method of claim 16 , wherein transmitting the
transmitting the access code request message the access access code reply message comprises transmitting the access
server on a non -voice network .                                 code reply message on a voice network .
   3. The method of claim 1 , wherein transmitting comprises 35 19. The method of claim 18 , wherein transmitting the
transmitting the access code request message as a Short access code reply message on a voice network comprises
Messaging Service ( SMS ) message .                              transmitting the access code request message as a Short
   4. The method of claim 1 , wherein transmitting comprises Messaging Service ( SMS ) message .
transmitting the access code request message on a voice             20. A wireless apparatus comprising:
network .                                                     40   means for receiving from a user of the wireless apparatus
   5. The method of claim 4 , wherein transmitting the access          a destination node identifier associated with a destina
code request message on a voice network comprises trans-               tion node with which the user wishes to communicate ;
mitting the access code request message as a Short Mes-            means for transmitting an access code request message to
saging Service (SMS ) message.                                         an access server , the access code request message
  6. The method of claim 1 , wherein the location identifier 45           including the destination node identifier and a location
comprises an Internet Protocol ( IP ) address of the wireless            identifier identifying a geographical location of the
device in a wireless Internet Protocol (IP ) network .                   wireless apparatus;
  7. The method of claim 1 , wherein the location identifier           means for receiving an access code reply message from
comprises an identifier of a wireless voice signal station in            the access server in response to the access code request
wireless communication with the wireless device.                50        message , the access code reply message including an
  8. The method of claim 1 , wherein the location identifier              access code based on the location identifier in the
comprises a user -configured identifier of a location associ-             access code request message , the access code identify
ated with the wireless device .                                           ing a communications channel on a gateway through
   9. The method of claim 1 , wherein receiving the access         which communications between the wireless apparatus
code reply message comprises receiving the access code 55          and the destination node can be conducted , the access
reply message from the access server on a non- voice net           code being distinct from the destination node identifier ;
work .                                                             and
   10. The method of claim 1 , wherein receiving the access    means for causing the wireless apparatus to establish
code reply message comprises receiving the access code             communications with the destination node through the
reply message as a Short Messaging Service ( SMS ) mes- 60         communications channel identified by the access code
sage .                                                             in the access code reply message , the access code being
  11. The method of claim 1 , wherein receiving comprises          based on the location identifier transmitted in the access
receiving the access code reply message on a voice network .       code request message .
   12. The method of claim 11 , wherein receiving the access    21. The apparatus of claim 20 , wherein the means for
code reply message on a voice network comprises receiving 65 transmitting comprises a non-voice network interface for
the access code reply message as a Short Messaging Service transmitting the access code request message to the access
(SMS) message .                                                      server on a non - voice network .
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                             37                                                                     38
   22. The apparatus of claim 20 , wherein the means for                36. The system of claim 34 , wherein the means for
transmitting includes means for transmitting the access code          transmitting the access code reply message comprises means
request message as a Short Messaging Service ( SMS ) mes-             for transmitting the access code reply message on a voice
sage .                                                                network .
   23. The apparatus of claim 20 , wherein the means for 5               37. The system of claim 36 , wherein the means for
transmitting comprises means for transmitting the access              transmitting the access code reply message on a voice
code request message on a voice network .                             network comprises means for transmitting the access code
  24. The apparatus of claim 23 , wherein the means for               request message as a Short Messaging Service ( SMS ) mes
                                                                      sage .
transmitting the access code request message on a voice          10      38. A wireless apparatus comprising:
network comprises means for transmitting the access code                 a processor circuit comprising at least one processor,
request message as a Short Messaging Service ( SMS ) mes                 a network interface in communication with the processor
sage .
   25. The apparatus of claim 20 , wherein the location                      circuit; and
                                                                        a non - transitory computer readable medium having com
identifier comprises an Internet Protocol (IP ) address of the   15          puter executable codes stored thereon for directing the
wireless apparatus in a wireless IP network .                                processor circuit to :
   26. The apparatus of claim 20 , wherein the location                      receive from a user of the wireless apparatus a desti
identifier comprises an identifier of a wireless voice signal                   nation node identifier associated with a destination
station in wireless communication with the wireless appa                        node with which the user wishes to communicate ;
ratus .                                                          20          transmit an access code request message to an access
   27. The apparatus of claim 20 , wherein the location                         server , the access code request message including the
identifier comprises a user -configured identifier of a location                destination node identifier and a location identifier
associated with the wireless apparatus.                                      identifying a geographical location of the wireless
   28. The apparatus of claim 20 , wherein the means for                     apparatus;
receiving an access code reply message comprises a non- 25                 receive an access code reply message from the access
voice network interface for receiving the access code reply                   server in response to the access code request mes
message on a non-voice network .                                              sage , the access code reply message including an
   29. The apparatus of claim 20 , wherein the means for                      access code based on the location identifier in the
receiving the access code request message comprises means 30                  access code request message , the access code iden
for receiving the access code request message as a Short                      tifying a communications channel on a gateway
Messaging Service ( SMS ) message .                                           through which communications between the wireless
   30. The apparatus of claim 20 , wherein the means for                      apparatus and the destination node can be conducted ,
receiving the access code request message comprises means                    the access code being distinct from the destination
                                                                             node identifier; and
for receiving the access code request message on a voice 35           initiate communications from the wireless apparatus,
network .                                                                via the network interface, using the access code
   31. The apparatus of claim 30 , wherein the means for                 based on the location identifier, to establish commu
receiving the access code request message on a voice                     nications between the wireless apparatus and the
network comprises means for receiving the access code                    destination node through the communications chan
request message as a Short Messaging Service ( SMS ) mes- 40             nel identified by the access code.
sage .                                                             39. The apparatus of claim 38 , wherein the network
   32. The apparatus of claim 20 , wherein the access code interface comprises a non -voice network interface, and
includes a telephone number or an IP address.                   wherein the codes for directing the processor circuit to cause
   33. The wireless apparatus of claim 20 , wherein the means the access code request message to be transmitted include
for causing the wireless apparatus to establish communica- 45 codes for directing the processor circuit to cause the access
tions comprises a mobile telephone network interface .          code request message to be transmitted to the access server
   34. A system for enabling roaming by a wireless appara- using the non- voice network interface on a non - voice net
tus, the system comprising the wireless apparatus of claim work .
20 and further comprising:                                         40. The apparatus of claim 38 , wherein the codes for
   a routing controller ;                                    50 directing the processor circuit to cause an access code to be
   the access server, wherein the access server comprises:      transmitted to the access code server include codes for
      means for receiving from the wireless apparatus the directing the processor circuit to cause the access code
        access code request message ;                           request message to be transmitted as a Short Messaging
      means for communicating with the routing controller to Service (SMS) message .
          obtain from the routing controller the access code 55 41. The apparatus of claim 38 , wherein the network
          wherein the access code identifies a communications interface comprises a voice network interface and wherein
        channel associated with the location identifier and the codes for directing the processor circuit to cause an
          wherein the access code is useable by the wireless   access code to be transmitted to the access code server
        apparatus to cause the routing controller to establish include codes for directing the processor circuit to cause the
        a call to the destination node using the communica- 60 access code request message to be transmitted on a voice
        tions channel; and                                     network .
      means for transmitting the access code reply message       42. The apparatus of claim 41 , wherein the codes for
        including the access code to the wireless apparatus. directing the processor circuit to cause an access code to be
   35. The system of claim 34 , wherein the means for transmitted to the access code server include codes for
transmitting the access code reply message comprises means 65 directing the processor circuit to cause the access code
for transmitting the access code reply message as a Short request message to be transmitted as a Short Messaging
Messaging Service ( SMS ) message .                            Service ( SMS ) message on the voice network .
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                                                   US 10,880,721 B2
                             39                                                                  40
   43. The wireless apparatus of claim 38 , wherein the                  nications between the wireless device and the destina
location identifier comprises an Internet Protocol ( IP )                tion node can be conducted , the communications
address of the wireless apparatus in a wireless IP network .             channel being associated with the geographical loca
   44. The wireless apparatus of claim 38 , wherein the                  tion of the wireless device , the access code being
location identifier comprises an identifier of a wireless voice 5        distinct from the destination node identifier; and
signal station in wireless communication with the wireless             cause the wireless device to use the access code compris
apparatus.                                                               ing the Internet Protocol ( IP ) address based on the
   45. The wireless apparatus of claim 38 , wherein the                  location identifier to establish communications
location identifier comprises a user-configured identifier of            between the wireless device and the destination node
a location associated with the wireless apparatus.              10       through the communications channel of the network
   46. The wireless apparatus of claim 38 , wherein the              element identified by the access code .
network interface comprises a non - voice network interface,      51. A method for enabling a wireless device to establish
and wherein the codes for directing the processor circuit to communications with a destination node, the method com
receive an access code reply message include codes for prising:
directing the processor circuit to cause the access code reply 15 receiving from the wireless device an access code request
message to be received from the access server using the             message including a destination node identifier associ
non- voice network interface on a non - voice network .              ated with the destination node and a location identifier
   47. The wireless apparatus of claim 38 , wherein the access       identifying a geographical location of the wireless
code includes a telephone number or an IP address .                  device;
   48. The wireless apparatus of claim 38 , wherein the 20 in response to receiving the access code request message ,
network interface comprises a mobile telephone network               causing a routing controller to produce an access code
interface , and wherein the codes for directing the processor        identifying a communications channel on a gateway
circuit to establish communications between the wireless                 through which communications between the wireless
apparatus and the destination node to include codes for                  device and the destination node can be conducted, the
directing the processor circuit to cause a call to be initiated 25       access code being based on the location identifier of the
using the mobile telephone network interface on a mobile                 access code request message received from the wireless
telephone network .                                                      device, wherein the access code is useable by the
   49. A system for enabling roaming by a wireless appara                wireless device to initiate communications with the
tus, the system comprising the wireless apparatus of claim                destination node through the communications channel;
38 and further comprising:                                      30       and
   a routing controller; and                                           transmitting, to the wireless device, an access code reply
   an access server comprising a processor circuit and a                 message including the access code based on the loca
     computer readable medium in communication with the                  tion identifier, to cause the wireless device to use the
     processor circuit , the computer readable medium                    access code to initiate communications with the desti
     encoded with codes for directing the processor circuit 35           nation node through the communications channel.
     of the access server to :                                         52. The method of claim 51 , wherein receiving comprises
  receive the access code request message from the wireless          receiving the access code request message on a non - voice
    apparatus;                                                       network .
  communicate with the routing controller to obtain from               53. The method of claim 51 , wherein receiving the access
     the routing controller the access code wherein the 40 code request message comprises receiving the access code
     access code identifies a communications channel asso-           request message as a Short Messaging Service ( SMS ) mes
     ciated with the location identifier and wherein the             sage .
      access code is useable by the wireless apparatus to       54. The method of claim 51 , wherein receiving comprises
      cause the routing controller to establish a call to the receiving the access code request message on a voice
      destination node using the communications channel; 45 network .
      and                                                       55. The method of claim 54 , wherein receiving the access
   transmit the access code reply message to the wireless code request message on a voice network comprises receiv
      apparatus.                                              ing the access code request message as a Short Messaging
   50. A non -transitory computer readable medium having Service (SMS) message .
stored thereon computer executable codes for directing a 50 56. The method of claim 51 , wherein the routing control
processor circuit of a wireless device to establish commu- ler is operably configured to route a call between the
nications with a destination node on a network , the codes wireless device and the destination node when the wireless
comprising codes for directing the processor circuit to :     device uses the access code to establish communications
  cause the wireless device to receive from a user of the            between the wireless device and the destination node .
     wireless device a destination node identifier associated 55       57. The method of claim 51 , wherein causing the routing
    with the destination node;                                       controller to produce the access code comprises causing the
  cause the wireless device to transmit an access code               access code to be selected from a pool of access codes .
    request message to an access server, the access code             58. The method of claim 57 further comprising determin
    request message including the destination node identi- ing from the location identifier a local calling area associated
    fier and a location identifier identifying a geographical 60 with the wireless device and causing the access server to
    location of the wireless device;                              select an access code associated with a calling area matching
  cause the wireless device to receive an access code reply the local calling area associated with the wireless device .
    message comprising an access code identifying an                 59. The method of claim 57 , further comprising accessing
    Internet Protocol (IP) address based on the location a location field of a dialing profile associated with the
    identifier in the access code request message , the access 65 wireless device when a local calling area cannot be deter
     code representing a communications channel of a net-            mined from the location identifier and determining a local
     work element in the network through which commu-                calling area associated with the wireless device from the
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                            41                                                                 42
contents of the location field and selecting an access code         and the destination node when the wireless device seeks to
associated with a calling area matching the local calling areaestablish a call to the destination node using the access code
associated with the wireless device .                         transmitted in the access code reply message when the
   60. The method of claim 51 , wherein the location iden-    timestamp associated with the access code indicates the
tifier comprises an Internet Protocol (IP ) address of the 5  usability of the access code has not expired , and causing the
wireless device in a wireless IP network .                    communications to be prevented when the timestamp indi
   61. The method of claim 51 , wherein the location iden- cates the usability of the access code has expired .
tifier comprises an identifier of a wireless voice signal        73. The method of claim 51 , wherein transmitting com
station in wireless communication with the wireless device . prises transmitting the access code reply message on a
   62. The method of claim 51 , wherein the location iden- 10 non - voice network .
tifier comprises a user -configured identifier of a location     74. The method of claim 51 , wherein transmitting the
associated with the wireless device .                         access code reply message comprises transmitting the access
   63. The method of claim 57 , wherein at least one of the code reply message as a Short Messaging Service ( SMS )
access codes in the pool of access codes identifies an IP message .
network address as a possible communications channel 15 75. The method of claim 51 , wherein transmitting com
through which the communications can be conducted .    prises transmitting the access code reply message on a voice
  64. The method of claim 51 , wherein the access code              network .
identifies an IP network address as a possible communica-             76. The method of claim 75 , wherein transmitting the
tions channel through which the communications can be               access code reply message on a voice network comprises
conducted, the method further comprising enabling commu- 20 Messaging
nications between the wireless device and the destination
                                                            transmittingService
                                                                          the access code reply message as a Short
                                                                                ( SMS ) message .
node to be established through an IP network in response to       77. An apparatus for enabling a wireless device to estab
a call received at the IP network address from the wireless         lish communications with a destination node, the apparatus
device using the access code identifying the IP network         comprising:
address .                                                    25   means for receiving from the wireless device an access
   65. The method of claim 57 , wherein at least one of the          code request message including a destination node
access codes identifies a telephone number as a possible             identifier associated with the destination node and a
communications channel through which the communica-                  location identifier identifying a geographical location
tions can be conducted .                                             of the wireless device ;
   66. The method of claim 65 , further comprising enabling 30 means for causing a routing controller to produce an
communications between the wireless device and the desti             access code identifying a communications channel on a
nation node to be established through a public switched              gateway through which communications between the
telephone network (PSTN ) in response to a call received at          wireless device and the destination node can be con
the telephone number from the wireless device using the              ducted, in response to receiving the access code request
access code identifying the telephone number.                35      message , such that the access code is produced based
   67. The method of claim 51 , wherein the access code              on the location identifier of the access code request
request message includes a caller identifier and wherein the         message received from the wireless device and such
method further comprises associating the caller identifier           that the access code is useable by the wireless device to
included in the access code request message with the access          initiate communications with the destination node
code produced by the routing controller.                     40      through the communications channel; and
  68. The method of claim 64 , further comprising enabling            means for transmitting an access code reply message
the routing controller to facilitate communications in                  including the access code to the wireless device ,
response to use of the access code by the wireless device                wherein the access code in the access code reply
only if the caller identifier associated with the access code            message is based on the location identifier and is used
used by the wireless device to establish communications 45               by the wireless device to initiate communications with
with the destination node identifies the wireless device .               the destination node through the communications chan
   69. The method of claim 67 , further comprising associ-           nel on the gateway.
ating the destination node identifier included in the access      78. The apparatus of claim 77 , wherein the means for
code request message with the access code produced by the receiving comprises a non -voice network interface for
routing controller.                                          50 receiving the access code request message on a non - voice
   70. The method of claim 69 , wherein the associating the         network .
caller identifier and the destination node identifier with the        79. The apparatus of claim 77 , wherein the means for
selected access code occurs only when :                        receiving the access code request message comprises means
  a) the access code is not already associated with a for receiving the access code request message as a Short
     destination node identifier ; or                       55 Messaging Service ( SMS ) message .
  b ) the access code is already associated with another         80. The apparatus of claim 77 , wherein the means for
     destination node identifier, and a timeout value asso- receiving comprises means for receiving the access code
     ciated with the another destination node identifier has request message on a voice network .
     expired .                                                   81. The apparatus of claim 80 , wherein the means for
  71. The method of claim 51, further comprising causing 60 receiving the access code request message on a voice
a timestamp to be associated with the access code , for use in      network comprises means for receiving the access code
determining when the usability of the access code to initiate       request message as a Short Messaging Service ( SMS ) mes
a call to the destination node will expire, and causing the         sage .
timestamp to be included in the access code reply message              82. The apparatus of claim 77 , further comprising the
transmitted to the wireless device.                              65 routing controller and wherein routing controller is operably
  72. The method of claim 71 , further comprising causing           configured to route a call between the wireless device and
communications to be permitted between the wireless device          the destination node.
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                              43                                                                   44
   83. The apparatus of claim 82 , wherein the routing                node identifier included in the access code request message
controller is operably configured to select the access code           with the selected access code .
from a pool of access codes .                                            96. The apparatus of claim 95 , wherein the routing
  84. The apparatus of claim 83 , wherein the routing                 controller is operably configured to associate the caller
controller is operably configured to determine a local calling 5 identifier and the destination node identifier with the
area associated with the wireless device from the location            selected access code only when :
identifier and to select an access code associated with a               a ) the access code is not already associated with a
calling area matching the local calling area associated with               destination node identifier; or
the wireless device .                                                   b ) the access code is already associated with another
  85. The apparatus of claim 83 , further comprising:            10         destination node identifier, and a timeout value asso
  a dialing profile associated with the wireless device, the               ciated with the another destination node identifier has
                                                                           expired .
     dialing profile including a location field ; and                  97. The apparatus of claim 82 , wherein the routing
  wherein the routing controller is operably configured to          controller is operably configured to associate a timestamp
      determine a local calling area associated with the with the access code , for use in determining when the
      wireless device from the contents of the location field 15 usability    of the access code to initiate a call to the destination
      and to select an access code associated with a calling node will expire, and to cause the timestamp to be included
      area matching the local calling area associated with the in the access code reply message transmitted to the wireless
      wireless device , when a local calling area associated device .
      with the wireless device cannot be determined from the 20 98. The apparatus of claim 97 , wherein the routing
      location identifier.                                          controller is operably configured to enable communications
   86. The apparatus of claim 77 , wherein the location to be established between the wireless device and the
identifier includes an Internet Protocol (IP ) address of the destination node when the wireless device seeks to establish
wireless device in a wireless IP network .                          a call to the destination node using the access code trans
   87. The apparatus of claim 77 , wherein the location 25 mitted in the access code reply message when the timestamp
identifier includes an identifier of a wireless voice signal associated with the access code indicates the usability of the
station in wireless communication with the wireless device . access code has not expired and to prevent the communi
   88. The apparatus of claim 77 , wherein the location cations from being established when the timestamp indicates
identifier includes a user - configured identifier of a location 30 the usability of the access code has expired.
associated with the wireless device .                                  99. The apparatus of claim 77 , wherein the means for
   89. The apparatus of claim 83 , wherein at least one of the transmitting comprises a non- voice network interface for
access codes in the pool of access codes identifies an IP             transmitting the access code reply message on a non - voice
network address as a possible communications channel                  network .
through which the communications can be conducted .                     100. The apparatus of claim 77 , wherein the means for
  90. The apparatus of claim 77, wherein the access code 35 transmitting the access code reply message comprises means
identifies an IP network address as a possible communica-             for transmitting the access code reply message as a Short
tions channel through which the communications can be                 Messaging Service ( SMS ) message .
conducted , and wherein the routing controller is operably               101. The apparatus of claim 77 , wherein the means for
configured to enable communications between the wireless              transmitting comprises means for transmitting the access
device and the destination node to be established through an 40 code reply message on a voice network .
IP network in response to a call received at the IP network       102. The apparatus of claim 101 , wherein the means for
address from the wireless device using the access code transmitting the access code reply message on a voice
identifying the IP network address.                             network comprises means for transmitting the access code
   91. The apparatus of claim 83 , wherein at least one of the reply message as a Short Messaging Service ( SMS ) mes
access codes in the pool of access codes identifies a tele- 45 sage .
phone number as a possible communications channel                    103. An apparatus for enabling a wireless device to
through which the communications can be conducted .               establish communications with a destination node, the appa
   92. The apparatus of claim 91 , wherein the routing ratus comprising:
controller is operably configured to enable communications           a processor circuit including at least one processor;
between the wireless device and the destination node to be 50 a network interface in communication with the processor
established through a public switched telephone network                 circuit; and
( PSTN) in response to a call received at the telephone              a non - transitory computer readable medium having stored
number from the wireless device using the access code                   thereon computer executable codes for directing the at
identifying the telephone number.                                       least one processor to :
   93. The apparatus of claim 83 , wherein the access code 55           receive from the wireless device an access code request
request message includes a caller identifier and wherein the               message including a destination node identifier asso
routing controller is operably configured to associate the                 ciated with the destination node and a location
caller identifier with the selected access code .                          identifier identifying a geographical location of the
   94. The apparatus of claim 93 , wherein the routing                     wireless device ;
controller is operably configured to facilitate communica- 60           cause a routing controller to produce an access code
tions between the wireless device and the destination node                 identifying a communications channel on a gateway
in response to use of the access code by the wireless device               through which communications between the wireless
only if the caller identifier associated with the access code              device and the destination node can be conducted , in
used by the wireless device to establish communications                    response to receiving the access code request mes
with the destination node identifies the wireless device.      65          sage , such that the access code is produced based on
   95. The apparatus of claim 93 , wherein the routing                     the location identifier of the access code request
controller is operably configured to associate the destination             message received from the wireless device and such
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                             45                                                                   46
       that the access code is useable by the wireless device   device and the destination node to be established through an
       to initiate communications with the destination node     IP network in response to a call received at the IP network
       through the communications channel; and                  address from the wireless device using the access code
     transmit an access code reply message including the identifying the IP network address .
        access code to the wireless device , wherein the 5 117. The apparatus of claim 108 , wherein the routing
        access code in the access code reply message is controller is operably configured to cause the access code to
        based on the location identifier and is used by the be selected from a pool of access codes , and wherein at least
        wireless device to initiate communications with the
        destination node through the communication chan one     a
                                                                      of the access codes in the pool of access codes identifies
                                                                   telephone   number as a possible communications channel
        nel .                                                10
   104. The apparatus of claim 103 , wherein the network        through    which  the communications can be conducted .
                                                                    118.  The  apparatus
interface comprises a non - voice network interface, and controller is operably configuredof claim 117 , wherein the routing
wherein the codes for directing the processor circuit to between the wireless device and totheenable           communications
                                                                                                         destination node to be
receive include codes for directing the processor circuit to
cause the access code request message to be received using 15 established through a public switched telephone network
the non- voice network interface on a non - voice network .     ( PSTN) in response to a call received at the telephone
   105. The apparatus of claim 103 , wherein the codes number from the wireless device using the access code
includes codes for directing the processor circuit to receive identifying the telephone number.
the access code request message as a Short Messaging                119. The apparatus of claim 108 , wherein the access code
Service (SMS) message .                                      20 request message includes a caller identifier and wherein the
   106. The apparatus of claim 103 , wherein the codes routing controller is operably configured to associate the
include codes for directing the processor circuit to receive caller identifier included in the access code request message
the access code request message on a voice network .            with an access code selected by the routing controller.
   107. The apparatus of claim 106 , wherein the codes              120. The apparatus of claim 119 , wherein the routing
include codes for directing the processor circuit to receive 25 controller is operably configured to facilitate communica
the access code request message as a Short Messaging               tions between the wireless device and the destination node
Service (SMS) message.                                             in response to the access code used by the wireless device
   108. The apparatus of claim 103 further comprising the only if the caller identifier associated with the access code
routing controller.                                                used by the wireless device to establish communications
   109. The apparatus of claim 108 , wherein the routing 30 with the destination node identifies the wireless device.
controller is operably configured to cause the access code to        121. The apparatus of claim 119 , wherein the routing
be selected from a pool of access codes , wherein none of the controller is operably configured to associate the destination
access codes in the pool of access codes identifies a respec node identifier included in the access code request message
tive telephone number.                                             with the selected access code .
   110. The apparatus of claim 109 , wherein the routing 35 122. The apparatus of claim 121 , wherein the routing
controller is operably configured to determine from the controller is operably configured to associate the caller
location identifier a local calling area associated with the identifier and the destination node identifier with the
wireless device and to select an access code associated with selected access code only when :
a calling area matching the local calling area associated with       a ) the access code is not already associated with another
the wireless device .                                           40       destination node identifier; or
   111. The apparatus of claim 109 , wherein the routing             b ) the access code is already associated with a destination
controller is operably configured to access a location field of          node identifier, and a timeout value associated with the
a dialing profile associated with the wireless device when a             another destination node identifier has expired .
local calling area cannot be determined from the contents of         123. The apparatus of claim 122 , wherein the routing
the location identifier and to determine a local calling area 45 controller is operably configured to associate a timestamp
associated with the wireless device from the contents of the       with the access code , for use in determining when the
location field and to select an access code associated with a      usability of the access code to initiate a call to the destination
calling area matching the local calling area associated with node will expire , and to cause the timestamp to be included
the wireless device .                                          in the access code reply message .
   112. The apparatus of claim 103 , wherein the location 50 124. The apparatus of claim 103 , wherein the routing
identifier comprises an Internet Protocol (IP ) address of the controller is operably configured to enable communications
wireless device in a wireless IP network .                         to be established between the wireless device and the
  113. The apparatus of claim 103 , wherein the location           destination node when the wireless device seeks to establish
identifier comprises an identifier of a wireless voice signal a call to the destination node using the access code trans
station in wireless communication with the wireless device . 55 mitted in the access code reply message when a timestamp
   114. The apparatus of claim 103 , wherein the location associated with the access code indicates that usability of the
identifier comprises a user -configured identifier of a location access code has not expired and to prevent the communi
associated with the wireless device .                            cations from being established when the timestamp indicates
   115. The apparatus of claim 109 , wherein at least one of that the usability of the access code has expired .
the access codes in the pool of access codes identifies an IP 60 125. The apparatus of claim 103 , wherein the network
network address as a possible communications channel interface comprises a non -voice network interface, and
through which the communications can be conducted .              wherein codes for directing the processor circuit to transmit
   116. The apparatus of claim 103 , wherein the access code include codes for directing the processor circuit to cause the
identifies an IP network address as a possible communica- access code reply message to be transmitted using the
tions channel through which the communications can be 65 non - voice network interface on a non- voice network .
conducted , and wherein the routing controller is operably          126. The apparatus of claim 103 , wherein the codes
configured to enable communications between the wireless include codes for directing the processor circuit to cause the
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                           47                                                                   48
access code reply message to be transmitted as a Short                tocol (IP ) address is based on the location identifier and
Messaging Service ( SMS ) message .                                   is used by the wireless device to initiate communica
   127. The apparatus of claim 103 , wherein the codes                tions with the destination node through a communica
include codes for directing the processor circuit to cause the        tion channel on the IP network communication device .
access code reply message to be transmitted on a voice 5 produced   131. The method of claim 130 wherein the access code is
network .                                                                   based on the destination node identifier.
   128. The apparatus of claim 127 , wherein the codes node         132. The method of claim 131 wherein the destination
include codes for directing the processor circuit to cause the         identifier comprises a phone number associated with
access code reply message to be transmitted as a Short 10 the destination node .
Messaging Service ( SMS ) message .                                 133. The method of claim 130 further comprising, if the
                                                                 destination node is a PSTN telephone on the public switched
   129. A non -transitory computer readable medium encoded telephone
with computer executable codes for directing a processor from the wireless   network ( PSTN) , establishing communications
circuit of a wireless device to establish communications with gateway operable to deviceconnect
                                                                                                to a communications supplier
                                                                                                  to the PSTN telephone via the
a destination node , the codes comprising codes for directing 15 public switched telephone network        ( PSTN) .
the processor circuit to :                                          134. The  method   of claim  51 , wherein causing the routing
   receive from the wireless device an access code request controller to produce the access code further            comprises:
     message including a destination node identifier associ           determining, from the location identifier, a current loca
      ated with the destination node and a location identifier
     identifying a geographical location of the wireless 20 searching    tion of the wireless device ; and
      device;                                                                     an access code association database table to
   cause a routing controller to produce an access code                  identify an access code associated with the current
     comprising an Internet Protocol ( IP ) network address              location of the wireless device but not presently asso
      identifying a communications channel on a gateway                  ciated with communications to any destination node, to
     through which communications between the wireless                   produce the access code transmitted in the access code
      device and the destination node can be conducted , in 25 135.reply       message .
                                                                            The method of claim 1 wherein the access code
     response to receiving the access code request message , request        message is transmitted from the wireless device via
      such that the access code is produced based on the
      location identifier of the access code request message a WiFi network and the access code reply message is
     received from the wireless device and such that the received            by the wireless device via the WiFi network .
     access code is useable by the wireless device to initiate 30 identifier andmethod
                                                                      136.  The          of claim 1 , wherein the destination node
      communications with the destination node through the same time . the location identifier are transmitted at the
     communications channel; and                                      137. The method of claim 51 , wherein the access code is
   transmit an access code reply message including the based              on an area code corresponding to a location identified
      access code to the wireless device , wherein the Internet
     Protocol ( IP ) address of the access code is based on the 35 by 138.
                                                                       the location  identifier.
                                                                            The method of claim 51 , wherein the access code
      location identifier and is used by the wireless device to reply message       identifies an Internet Protocol ( IP ) network
      initiate communications with the destination node address of the communications                  channel through which the
     through the communication channel on the gateway.
   130. A method of operating an apparatus for enabling a communications can be conducted , wherein the access code
wireless device to establish communications with a desti- 40 is useable by the wireless device to initiate the communi
nation node, the method comprising:                                cations with the destination node through the communica
                                                                   tions channel .
   receiving from the wireless device a request message               139. The apparatus of claim 103 , wherein the access code
     including a destination node identifier associated with reply        message identifies an Internet Protocol ( IP ) network
     the destination node and a location identifier associated
     with a geographical location of the wireless device, 45 through
                                                             address which
                                                                     associated with the communications channel
                                                                            the communications can be conducted ,
     wherein the location identifier comprises a first Internet wherein the Internet Protocol (IP) network address is use
     Protocol (IP) address associated with the wireless able by the wireless device to initiate the communications
     device;                                                    with the destination node through the communications chan
  in response to receiving the request message , producing nel     .
     an access code identifying a second Internet Protocol 50 140.      The method of claim 1 , further comprising:
     (IP ) address associated with an IP network communi              ( a) receiving, in the access code reply message , an Inter
     cation device through which communications between                 net Protocol ( IP ) address; and
     the wireless device and the destination node can be
     conducted, wherein the access code is produced based             (b ) establishing the communications between the wireless
     on the location identifier received from the wireless 55           device and the destination node based on the Internet
     device, wherein the access code is useable by the                  Protocol (IP ) address received in the access code reply
                                                                        message .
     wireless device to initiate communications with the             141. The method of claim 1 , wherein the access code
     destination node through the IP network communica             received in the access code reply message does not comprise
     tion device; and
  transmitting a reply message including the access code to 60 a telephone number.
     the wireless device , wherein the second Internet Pro
